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 If North Carolina
       DEPARTMENT OF INSURANCE                                                 Wayne Goodwin f Commissioner of Insurance

       SERVICE OF PROCESS




                                                             June 27, 2016


             Mr. R. Gene Edmundson
             Post Office Box 428
             106 Main Street
             Oxford, NC 27565

                     Paula K. Bullock
                            vs.
                     United Property & Casualty Insurance Company

             Dear Mr. Edmundson:

                     This acknowledges receipt of legal process in the referenced matter by a special deputy, duly
             appointed by me for such purpose. We are herewith enclosing the Department's receipt #46156 in the
             amount of $10.00 for Service of Process, which was mailed on June 27, 2016.

                     The process papers have been forwarded to the named insurance company.

                                                                WAYNE GOODWIN
                                                                Commissioner of Insurance



                                                      c   .Ca.41,,       - E4.42.4o
                                                                Gloria H. Glasco
                                                                Special Deputy for
                                                                Service of Process


             Enclosure




   1201 Mail Service Center        I   Raleigh, NC 27699-1201     I   tel. 919.716.6610 fax: 919.716.6757        I www.ncdoi.com
                                             An Equal Opportunity/Af nnative Action Employer


                  Case 1:16-cv-00996-CCE-JEP Document 1-1 Filed 07/25/16 Page 1 of 74
9196937979            EDMUNDSON & burnette                                                02:34:16 p.m.   07-06-2016           3 /4



   J
        North Carolina
       DEPARTMENT OF INSURANCE                                             Wayne Goodwin I Commissioner of Insurance

       SERVICE OF PROCESS




             Paula K. Bullock

                    vs.

             United Property & Casualty Insurance Company


                     I, Gloria H. Glasco, a Special Deputy duly appointed for the purpose, do hereby accept service of

             the Civil Summons of Plaintiff Paula K. Bullock and adding United Property & Casualty Insurance

             Company as a Defendant, and acknowledge receipt of a copy of the same, together with a copy of the

             Complaint with attached Exhibit "A", "B", and "C", under the provision of the North Carolina

             General Statute Section 58-16-30 as process agent for United Property & Casualty Insurance Company.

                    This the 24th day of June, 2016.


                                                              WAYNE GOODWIN
                                                              Commissioner of Insurance



                                                         taizo-        -cc .a,
                                                              Gloria H. Glasco
                                                              Special Deputy for
                                                              Service of Process




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                  Case 1:16-cv-00996-CCE-JEP Document 1-1 Filed 07/25/16 Page 2 of 74
                                                                                            07-06-20 10
                                                                           0234:3 8 p.m.

EDMUNDSON & burnett e




N? 46156                                                    STATE OF NORTH CAROLINA
                                                                    INSURANCE DEPARTMENT
                                                                          RALEIGH,    .2404-t-2-14.
RECEIVED of                                   4
as Deposit Fee for service under Sec. 58-16-30 of the General Statutes of North Carolina, in suit
 g,zA,&           i a ar                                            Plaints                  , against
Gli2.1 2 1  ( : .1.t                  -R v^ •--    4,    Defendant                  . TEN DOLLARS
       The process in said suit being issued from                                              County,
a copy of which is deposited with this Department and a certified copy mailed, postage prepaid, to the
Company, as provided by law.

Date Served Of          LNG                           G - I.l.)            (ao     .s.:,/
                                                                  In urance Commissione

$10.00                              FILE N0.J/1/ f4^r42MIO)
                 /3 //y




  Case 1:16-cv-00996-CCE-JEP Document 1-1 Filed 07/25/16 Page 3 of 74
  STATE OF NORTH CAROLINA                                                                                 ins cvs- 111
               CASWELL                     County                                                       In The General Court of Justice
                                                                                                      ❑ District ^
                                                                                                                 1 Superior Court Division
Name of Plaintiff
Paula K. Bullock
Address                                                                                            CIVIL SUMMONS
732 Osmond Road
City, State, Zip                                                                    ❑ ALIAS AND PLURIES SUMMONS (ASSESS FEE)
Semora, North Carolina 27343
                         VERSUS                                                                                              G.S. 1A-1, Rules 3, 4
Name of Defendant(s)                                                           Date Original Summons Issued
United Property & Casualty Insurance Company
d/b/a UPC Insurance                                                            Date(s) Subsequent Summon(es) Issued




  To Each of The Defendant(s) Named Below:
 Name And Address of Defendant 1                                                Name And Address of Defendant 2
United Property & Casualty Insurance Company
  d/b/a UPC Insurance
Registered Agent
Chief Financial Officer: Bennet B. Martz
200 E. Gaines Street
Tallahassee, Florida 32399-0000


 A Civil Action Has Been Commenced Against You!

 You are notified to appear and answer the complaint of the plaintiff as follows:

 1. Serve a copy of your written answer to the complaint upon the plaintiff or plaintiffs attorney within thirty (30) days
    after you have been served. You may serve your answer by delivering a copy to the plaintiff or by mailing it to the
    plaintiffs last known address, and

 2. File the original of the written answer with the Clerk of Superior Court of the county named above.

 If you fail to answer the complaint, the plaintiff will apply to the Court for the relief demanded in the complaint.
Name And Address of Plaintiff's Attorney (If None, Address of Plaintiff)     Date Issued                      Time /
R. Gene Edmundson                                                                      ()q-/ 6
                                                                                                                             R AM          ❑ PM
P. O. Box 428                                                                Signature
106 Main Street
Oxford, North Carolina 27565                                                   ❑ Deputy SC t       ❑ Assistant CSC     ❑ Clerk   of   Superior Court

                                                                             Date of Endorsement              Time
❑ ENDORSEMENT (ASSESS FEE)                                                                                                   ❑ AM ❑ PM
                                                                             Signature
     This Summons was originally issued on the date
     indicated above and returned not served. At the
     request of the plaintiff, the time within which this                      ❑ Deputy CSC        ❑ Assistant CSC     ❑ Clerk of Superior Court
     Summons must be served is extended sixty (60)
     days.

NOTE TO PARTIES: Many counties have MANDATORY ARBITRATION programs in which most cases where the amount in controversy is
                 $15,000 or less are heard by an arbitrator before a trial. The parties will be notified if this case is assigned for
                 mandatory arbitration, and, if so, what procedure is to be followed.
 AOC-CV-100, Rev. 6/11
 © 2011 Administrative Office of the Courts                                (Over)



                    Case 1:16-cv-00996-CCE-JEP Document 1-1 Filed 07/25/16 Page 4 of 74
   STATE OF NORTH CAROLIN                                 FILE NO. 16-CVS-110
                                                          FILM NO.
   COUNTY OF CASWELL        16JUN-9 AMII:57
                                              IN THE GENERAL COURT OF JUSTICE
                                            C.:.C. SUPERIOR COURT DIVISION

   PAULA K. BULLOCK, ELY         -
             Plaintiff

         v.                                                 COMPLAINT

   UNITED PROPERTY &
   CASUALTY INSURANCE
   COMPANY d/b/a
   UPC INSURANCE,
              Defendant



          Plaintiff, Paula K. Bullock, being duly sworn, deposes,

   says, and alleges of Defendant, UPC Insurance:

                                         PARTIES

          1. That Plaintiff is, and at all times relevant hereto has

   been, a citizen and resident of Caswell County, North Carolina.

          2.   That Defendant United Property & Casualty Insurance

   Company, d/b/a UPC Insurance ("UPC") is, upon information and

   belief, and at all times relevant hereto has been, a corporation

   organized and existing under the laws of the State of Florida

   with its principal place of business in St. Petersburg, Florida.

          3.   That at all times relevant hereto, UPC has been

   authorized to sell and issue insurance policies in the State of

   North Carolina.




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         Case 1:16-cv-00996-CCE-JEP Document 1-1 Filed 07/25/16 Page 5 of 74
r


                                   JURISDICTION AND VENUE

             4. Subject matter jurisdiction over this case is conferred

       upon this Court pursuant to N.C.G.S. §1-75.4.

             5.    Venue for this cause is properly laid in this Court

       pursuant to N.C.G.S. §§1-79 and 1-80.

                                              FACTS

             6. That in January, 2015, and at all relevant times hereto,

       Plaintiff was covered for property, casualty and liability risks

       under a policy of insurance ("the policy") which Plaintiff

       purchased from UPC. UPC entered into a contract of insurance

       with Plaintiff and issued the policy in effect for the period

       02/04/2014 through 02/04/15 under Policy Number UNH 0063322 00

       32.

             7. That the policy covered, among other things, Plaintiff's

       dwelling and residence at 732 Osmond Road, Semora, North

       Carolina 27343 ("the residence"). (A copy of the policy is

       attached and incorporated by reference as Exhibit "A".)

             8.    That in January, 2015, Plaintiff was away from her

       residence on a trip.

              9.   That before she left on her trip, Plaintiff set the

       thermostat within the residence at sixty-five degrees Fahrenheit

       to insure that heat would continue to be dispersed throughout

       the residence during her absence.




                                                 2
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         10.    That while Plaintiff was away, the temperatures in

   Caswell County during January, 2015, dropped precipitously,

   below freezing.

         11. That, upon information and belief, this weather pattern

   persisted for many consecutive days.

          12.   That, on or about January 10, 2015, because of the

   freezing weather conditions, during Plaintiff's absence, a hot

   water pipe which conducted water to the residence's kitchen sink

   froze and burst.

          13.   That the breakage of the pipe led to a catastrophic

   intrusion of water into the residence.

          14. That the damage caused directly by the water intrusion

   into the residence included, but was not limited to: "cupping",

   buckling and warping the hardwood floors; subfloor warping;

   ruined plumbing, electrical and ductwork systems; drywall and

   tile destruction; trim destruction; ruined insulation,

   fixtures, appliances and electronics; and, other damage to the

   residence to be adduced at trial.

          15. That on or about March 12, 2015, Plaintiff's boyfriend,

   Jon Bemis, was contacted by Patrick Williams ("Williams"), a

   contractor for Action Restoration Services ("ARS"); Williams

   suggested that he check on the residence because several houses

   in the area had suffered broken pipes because of the freezing

   weather.

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         16.    That on or about March 14, 2015, Williams contacted

   Plaintiff and notified her that the residence was flooded due to

   a hot water pipe which froze and burst because of the freezing

   conditions.

         17.    That on the same day, Plaintiff contacted Mr. Ricky

   Wright, her insurance agent with Lacy West Insurance in

   Elizabethtown, North Carolina, the agent from whom she purchased

   the policy, and notified Mr. Wright of her claims arising from

   the residence flooding.

         18.    That on or about March 15, 2015, Williams contacted

   Plaintiff and notified her that the house was a total loss, but

   that ARS had begun the mitigation process including tearing out

   unsalvageable components of the residence, removing the contents

   therein for storage, and drying out the residence.

          19.   That on or about March 25, 2015, Plaintiff contacted

   and spoke with Stephan Louis ("Louis"), a UPC claims adjuster,

   regarding the policy and her claims thereunder.

         20.     That Louis assured Plaintiff that temporary housing

   and cost of living expenses would be covered during the claims

   investigation process and while the residence was repaired.

          21.   That on or about March 27, 2015, Louis sent an email

   to Plaintiff asking her to call him.                  Louis went on to write

   that he "need[ed] [Plaintiff's] total expenses to date.

   because [Plaintiff's] policy has a $5,000.00 limit on Fungi, wet

                                             4
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  or dry rot, or bacteria.                 [Plaintiff's] home is unlivable

  because of the mold, so any expense that we will need to pay

  will have to be done under that limit. I need to know how much

  of it [Plaintiff] already incurred."

           22.   That, upon information and belief, at the time Louis

  sent the email of March 27, 2015, he, and UPC, knew or had

  reason to know, that the unlivability of the residence was due

  not from mold, but from direct destruction due to water

  intrusion from the burst hot water pipe.

           23. That on or about March 29, 2015, a field adjuster from

  UPC met Williams at the property. The field adjuster and

  Williams had a conversation regarding damage to the residence

  and the field adjuster commented that the property was a total

   loss.

           24.   That in April, 2015, Williams and Louis had multiple

   phone conversations and Williams provided Louis with an estimate

   exceeding $250,000.00 for damages to the residence.

           25. That in April, 2015, UPC, upon information and belief,

   sent Plaintiff an "unrestricted" payment of $11,543.29 for water

   damage to the residence.

           26. That on or about May 11, 2015, Plaintiff sent, at the

   request of Louis, receipts for her hotel stay and a lease for a

   long-term apartment. This was the second time that Plaintiff

   had sent such receipts to Louis.

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         27. That, upon information and belief, later in May, 2015,

   Louis called Plaintiff and stated that UPC would provide only a

   partial settlement of her claims with approximately $42,000.00

   allocated for damage to the residence, remediation and cost of

   living expenses. UPC's bases for the $42,000.00 figure was that

   the damage was allegedly primarily from "mold", "humidity and

   condensation", and failure to perform "duties after loss"

   (without identifying the specific duties Plaintiff did not

   fulfill).

          28. That Plaintiff vehemently disagreed with the $42,000.00

   settlement proposal, and, pursuant to the terms of the policy,

   the parties hired independent appraisers to assess the damage

   caused by the water intrusion into the residence.

          29.   That in May, 2015, Plaintiff hired Mr. Joe Brennan

   ("Brennan") as her appraiser under the terms of the policy.

          30.   That UPC hired Mr. Neil Watts ("Watts") as its

   appraiser.

          31.   That the appraisal process lasted through June and

   July, 2015.

          32.   That Brennan, upon information and belief, estimated

   the damage for all claims to be in excess of $350,000.00,

   including damage to the residence, contents and living expenses.

   Brennan's estimate was not an appraisal.




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          33.   That in August, 2015, Brennan was released as

   Plaintiff's appraiser; Plaintiff then hired Max Christenberry to

   conduct an appraisal. Neil Watts remained the appraiser for

   UPC.

          34.   That on November 9, 2015, Watts submitted an appraisal

   for building value, amount of loss to dwelling and additional

   living expense in the total amount of $151,330.63. Watts noted

   in his appraisal that the personal property/contents claim loss

   was an "amount pending". (A copy of the Watts' appraisal is

   attached and incorporated by reference as Exhibit "B".)

          35. That on November 16, 2015, Louis acknowledged receipt

   of Watts' appraisal amount of $151,330.63, but partially denied

   and reduced the value of the claim to an "unrestricted" payment

   of $42,349.64, again relying on the "mold" and "humidity and

   condensation" as bases for the fractional payment. In addition,

   UPC again claimed that Plaintiff had not fulfilled her "duties

   after loss", without specifying which duties Plaintiff had left

   unfulfilled.

          36.   That, with respect to the putative "humidity and

   condensation" exclusion as a basis to deny coverage, UPC, via

   Louis, included in its correspondence dated November 16, 2015,

   the following:

                 Moreover, our investigation revealed that part of
                 your damages resulted from condensation and
                 humidity.   Your homeowner [sic] policy with UPC

                                             7
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                 Insurance Company does not cover losses due to
                 the presence of moisture or condensation of [sic]
                 humidity. Since the cause of loss is excluded
                 from your policy, we cannot afford you coverage
                 for that portion of the loss at this time and
                 must respectfully deny that portion of your
                 claim.

           37. In support of this language denying coverage caused by

   condensation and humidity, Louis went on to write:

                 In your HO 00 03 10 00 as amended by the
                 endorsement HO 32 32 06 10:

                 A. Coverage A - Dwelling And Coverage B - Other
                 Structures

                 1. We insure against direct physical loss to
                    property described in Coverages A and B.

                 2. We do not insure, however, for loss:

                       5. Constant or repeated discharge, seepage
                          or leakage of water or the presence or
                          condensation of humidity, moisture or
                          vapor, over a period of weeks, months or
                          years;

           38. UPC's description of the endorsement as set forth in

   Louis' letter mischaracterizes, deceitfully, the "condensation

   and humidity" exclusion.

           39. The exclusion clearly applies only               "over a period of

   weeks, months or years".           (Emphasis added.)

           40. Upon information and belief, whatever damage to the

   residence caused by "the presence or condensation of humidity,

   moisture or vapor" occurred within              days of the burst hot water

   pipe.



                                             8
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         41. Characterization of this portion of the endorsement as

   a blanket exclusion of condensation, humidity, moisture or vapor

   damage is a deliberate misrepresentation of the terms and

   conditions of the policy.

          42. That, in December, 2015, Plaintiff consulted counsel's

   advice on her claims.

          43.   That, even after Plaintiff's counsel became involved,

   UPC continued to hold, unfairly, deceitfully, and without

   justification, the position that its exposure was limited to

   $42,349.34 for the residence damage and living expenses because

   the loss was due to other reasons and not direct water

   intrusion.

          44. That on January 4, 2016, Neil Watts, UPC's appraiser,

   and Max Christenberry,              Plaintiff's appraiser,            rendered a

   replacement cost partial appraisal award of $203,320.42.                           (A

   copy is attached and incorporated by reference as Exhibit "C".)

          45.   That even after this appraisal award, determined by

   Plaintiff's and UPC's appraisers, UPC continued to deny proper

   settlement unfairly, deceitfully, without justification and in

   bad faith.

          46.   That the January 4, 2016, partial appraisal award

   included a partial award of $51,989.79 for loss of personal

   property.




                                             9
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         47.    That on January 29, 2016, UPC submitted an

   "unrestricted" payment of $20,519.82 for the loss of personal

  property claim.

         48. That UPC relied again on the putative mold cap and the

  putative humidity/condensation exclusion, and also the

   allegation that Plaintiff had not met her "duties after loss"

   (without specifying which duty she failed to discharge) to

   justify settlement of the personal property claim for a fraction

   of the appraised loss value.

         49. That, upon information and belief, the damage caused to

   the personal property was overwhelmingly directly caused by the

   water intrusion, not mold or humidity/condensation.



                  FIRST CAUSE OF ACTION - BREACH OF CONTRACT

         50.     Plaintiff hereby realleges and incorporates by

   reference the preceding paragraphs of this Complaint as though

   fully set forth herein.

         51. That UPC entered into a binding contract of insurance

   with Plaintiff.

         52. That Plaintiff has timely paid all premiums billed to

   her and otherwise fully performed each and every contractual and

   other obligation which she is under with regard to the above-

   referenced insurance contract.




                                            10
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           53. That, however, to date, UPC has accepted coverage and

  otherwise tendered payment to Plaintiff with respect to only a

  fraction of the dwelling/residence loss, cost of living expenses

  and personal property/contents loss, despite Plaintiff having

  presented to UPC competent evidence that she had suffered losses

  far in excess of the amounts tendered by UPC.

           54.   That, therefore, UPC has breached said contract in

   refusing to tender full payment of residence/dwelling coverage

   limits, cost of living expenses, and personal property/contents

   loss.

           55.     That as a result of UPC's breach of contract,

   Plaintiff has suffered damages including, but not limited to:

  money damages because of insufficient funds to pay for the

   remediation, renovation and restoration of her residence;

   insufficient funds to pay for the living expenses because of the

   unlivability of her residence; and insufficient funds to replace

   her ruined items of personal property and contents. These

   insufficient funds are directly due to UPC's willful and

   deceitful failure to pay for Plaintiff's damages under the terms

   of the contract of insurance.

           56.   That because of said breach Plaintiff is entitled to

   compensatory and other consequential damages in an amount in

   excess of Ten Thousand Dollars ($10,000.000), plus interest from

   the date of UPC's breach.

                                            11
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                       SECOND CAUSE OF ACTION - BAD FAITH

          57.    Plaintiff hereby realleges and incorporates by

   reference the preceding paragraphs of this Complaint as though

   fully set forth herein.

          58. That UPC has a statutory and common law duty to process

   and settle Plaintiff's insurance contract claims in good faith.

          59.   That UPC's conduct, as alleged in this Complaint, by

   entering into an insurance contract with Plaintiff and accepting

   Plaintiff's payment of premiums on such insurance contract, and

   thereafter refusing to provide coverage and payment pursuant to

   the terms of said insurance contract, was in bad faith, as it

   was an abuse of the power and authority which accompanied UPC's

   superior bargaining position relative to Plaintiff in the

   insurance sales and claim context.

          60. Furthermore, UPC's conduct is outrageous, reflecting a

   reckless and wanton disregard of Plaintiff's rights under her

   policy.

          61.   That such conduct by UPC further constitutes willful

   and intentional bad faith breaches of its covenants of good

   faith and fair dealing to Plaintiff arising from her contract of

   insurance with UPC. Such conduct was carried out in a fashion

   which was entirely self-serving and without consideration of the

   detrimental financial consequences to Plaintiff.




                                             12
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         62.   That, further, UPC's refusal to meet its contractual

  insurance obligations to Plaintiff is, to the extent motivated

  by UPC's own financial interests, despicable and done by

  oppression, fraud and malice, with the intent to vex, injure and

  harass Plaintiff resulting in the reasonable likelihood that

  UPC's conduct would cause injury to Plaintiff.

         63. That this conduct was on all occasions either directly

  engaged in or affirmed or ratified by UPC's executive officers,

  with full knowledge of the facts, after a considerable lapse of

  time for investigation and reflection.

         64.    That as a direct and proximate result of the above-

  referenced bad faith conduct and bad faith refusal fully to pay

  upon Plaintiff's insurance contract by UPC, Plaintiff has

  incurred incidental, consequential and other compensatory

  damages in an amount in excess of Ten Thousand Dollars

   ($10,000.00), and is entitled to punitive damages in an amount

  in excess of Ten Thousand Dollars ($10,000.00), plus interest

  from the date of breach.



                THIRD CAUSE OF ACTION - UNFAIR AND DECEPTIVE

                     TRADE PRACTICES -N.C. GEN. STAT. §75

         65.     Plaintiff hereby realleges and incorporates by

   reference the preceding paragraphs of this Complaint as though

   fully set forth herein.

                                            13
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         66.    That all actions of UPC relevant herein were in or

   affecting commerce and, more specifically, effectuated the sale

   of a policy of insurance to Plaintiff.

          67. That, upon information and belief, the conduct of UPC

   as aforesaid mentioned was offensive to established commercial

   and public policy, and such conduct is substantially injurious

   to consumers within the meaning of N.C. Gen. Stat. §75-1.1.

          68. That, pursuant to N.C. Gen. Stat. §58-63-15(11), UPC's

   conduct constitutes unfair claims settlement practices that were

   committed or performed with such frequency as to indicate a

   general business practice.

          69.   That, pursuant to N.C. Gen. Stat. §58-63-15(11), UPC

   committed unfair claims settlement practices in that it

   misrepresented pertinent facts for insurance policy provisions

   relating to coverages at issue.

         70.    That, pursuant to N.C. Gen. Stat. §58-63-15(11), UPC

   committed unfair claims settlement practices by failing to adopt

   and implement reasonable standards for the prompt investigation

   of claims arising under insurance policies, including

   Plaintiff's insurance policy.

          71. That, pursuant to N.C. Gen. Stat. §58-63-15(11), UPC's

   conduct constitutes unfair claims settlement practices in that

   it refused to pay Plaintiff's claims without conducting a

   reasonable investigation based upon all available information.

                                            14
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106 MAIN STREET . POST OFFICE BOX 428 -OXFORD, NORTH CAROLINA 27565 • PHONE: 919-693-7087
         Case 1:16-cv-00996-CCE-JEP Document 1-1 Filed 07/25/16 Page 18 of 74
         72. That, pursuant to N.C.          Gen. Stat. §58-63-15(11), UPC's

   conduct constitutes unfair claims settlement practices in that

   UPC did not attempt in good faith to effectuate prompt, fair and

   equitable settlements of claims in which liability has become

   reasonably clear.

         73. That, pursuant to N.C.          Gen. Stat. §58-63-15(11), UPC's

   conduct constitutes unfair claims settlement practices by

   compelling Plaintiff (the insured) to institute litigation to

   recover amounts due under a valid insurance policy by offering

   substantially less than the amounts ultimately sought to be

   recovered in actions brought by the insured.

         74. That, pursuant to N.C.          Gen. Stat. §58-63-15(11), UPC's

   conduct constitutes unfair claims settlement practices in that

   UPC has attempted to settle Plaintiff's claims for less than the

   amount to which a reasonable man would have believed he was

   entitled.

         75.    That UPC's conduct of unfair claims settlement

   practices, pursuant to           N.C.    Gen. Stat. §58-63-15           et seq.,

   constitute per se violations of the Unfair and Deceptive Trade

   Practices Act pursuant to N.C. Gen. Stat. §75-1.1.

         76.   That as a direct and proximate result of the above-

   referenced unfair and deceptive trade practices of UPC,

   Plaintiff       incurred      incidental,       consequential        and     other




                                            15
                EDMUNDSON & BURNETTE, LLP ATTORNEYS-AT-LAW
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         Case 1:16-cv-00996-CCE-JEP Document 1-1 Filed 07/25/16 Page 19 of 74
  compensatory damages in an amount in excess of Ten Thousand

  Dollars ($10,000.00) plus interest.

         77. That, further, given the intentionally fraudulent

  conduct of UPC, Plaintiff is entitled to have her compensatory

  damages trebled and to recover her reasonable attorney's fees

  pursuant to Chapter 75 of the North Carolina General Statutes.

         WHEREFORE, Plaintiff prays the Court as follows:

         1. That this verified Complaint be treated as an affidavit

   in support of all further orders of the Court.

         2.     That Plaintiff be awarded compensatory damages for

  breach of contract in an amount in excess of Ten Thousand

   Dollars ($10,000.00).

         3. That Plaintiff be awarded punitive damages in an amount

   according to proof, or in the alternative, for treble damages

   pursuant to N.C. Gen. Stat. §75.

         4. That the costs of this action be taxed against Defendant.

         5. That Plaintiff be awarded attorney's fees.

         6. That Plaintiff be awarded interest according to proof.




                                           16
                EDMUNDSON & BURNETTE, LLP ATTORNEYS-AT-LAW
               •
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         Case 1:16-cv-00996-CCE-JEP Document 1-1 Filed 07/25/16 Page 20 of 74
         7. For all and such other and further relief as the Court

   deems just and proper.

         This the
                       1'1   day of June, 2016.

                                          EDMUNDSON & BURNETTE, L.L.P.




                                          R. Gene Edmundson
                                          Attorney For Plaintiff
                                          P. O. Box 428
                                          106 Main Street
                                          Oxford, NC    27565
                                          (919) 693-7087




                                            17
                EDMUNDSON & BURNETTE, LLP ATTORNEYS-AT-LAW
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         Case 1:16-cv-00996-CCE-JEP Document 1-1 Filed 07/25/16 Page 21 of 74
  NORTH CAROLINA

  GRANVILLE COUNTY


                                      VERIFICATION


       I, Paula K. Bullock, Plaintiff, in the above-entitled action,
  first being duly sworn, deposes and says that she has read the
  foregoing and hereto annexed Complaint, that the same is true to
  the best of her knowledge, except as to those matters therein
  alleged upon information and belief, and to those matters, she
  believes them to be true.




  Sworn and subscribed
  before me, this the (f)H
  day of   mal,1 , 2016.



                         C,   (LTAC
  Notary Public


  My commission expires: 10 1 a0 J 2C)


          TERRI A RICHARDS
    Notary Public, North Carolina
            Wake County
      My Commissioc Expires
         October 20. 2020




                  EDMUNDSON & BURNETTE, LLP ATTORNEYS-AT-LAW
106 MAIN STREET • POST OFFICE BOX 428 • OXFORD, NORTH CAROLINA 27565 • PHONE: 919-693-7087




          Case 1:16-cv-00996-CCE-JEP Document 1-1 Filed 07/25/16 Page 22 of 74
                                               EXHIBIT "A"


UPC(  "N
INSURANCE


COACHES CASUALTY INS OF NC INC
DBA LACY WEST INSURANCE
PO BOX 2138
ELIZABETHTOWN NC 28337




PAULA BULLOCK
732 OSMOND RD
SEMORA NC 27343




                 IMPORTANT INFORMATION RELATED TO YOUR POLICY


  Policy No: UNH 0063322 00
  To answer questions about your policy, coverage and payment obligation, your
  best source of information is your local insurance agent.
           The agent responsible for servicing your policy is:
           COACHES CASUALTY INS OF NC INC
           DBA LACY WEST INSURANCE
           PO BOX 2138
           ELIZABETHTOWN NC 28337
           910-862-4156

  To check Policy and/or billing information 24 hours a day, use our Automated Response
  System:
  Call 1-800-295-8016 for up-to-date information concerning your policy.
  Please have your policy number available when making this call.
  To Make Payments:

  Use the stub on your invoice and the envelope provided and mail to:
               United Property & Casualty Insurance Company
               Payment Processing Center
               P. O. Box 31512
               Tampa, FL 33631-3512


  To Report a Claim:
  You may call us 24 hours a day at 1-(888) CLM DEPT/1-(888)-256-3378.
                                                Or

   You may report a claim to your agent at the address and phone number above.

   Office Hours: 8:00am to 5:00pm (Eastern Time), Monday through Friday, except Holidays




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                                                                    HOMEOWNERS
  V I V •               ■
  INSURANCE                                                         POLICY NUMBER                POLICY PERIOD
                                                                                               From          To
  UNITED PROPERTY & CASUALTY INS CO
                                                                                         02/04/2014               02/04/2015
  P.O. Box 51149                                                     UNH 0063322 00 32   12:01 am Eastern Standard
  Sarasota, FL 34232-0330                                                                Time at the mailing address shown below




                      INSURED COPY                         Date Issued: 02/06/2014

  INSURED:                                                  AGENT: 8400100
  PAULA BULLOCK                                             COACHES CASUALTY INS OF NC INC
  732 OSMOND RD                                             DBA LACY WEST INSURANCE
  SEMORA NC 27343                                           PO BOX 2138
                                                            ELIZABETHTOWN NC 28337

  Telephone: 910-862-4156                                   Telephone: 910-862-4156

  Property Address: 732 OSMOND RD                       SEMORA NC 27343

This is a Bill
INST           DATE             TRANSACTION                                                            AMOUNT
 01         02/05/2014         New Business                                                                $456.50
           02/05/2014          Service Charge                                                                 $3.00
                               -- Next Installment Due --
                                (service charge not included)
 02             04/05/2014     $     456.50




                               AMOUNT DUE:                                                     $                  459.50
                               PAYMENT DUE        UPON RECEIPT
                               POLICY BALANCE                                                  $              1,829.00



         P R E M I U M N O T I C E - I N S U R E D
         Please mail payment to the address below or to make an electronic payment,
         log onto www.upcinsurance.com .
                                    ******DETACH HERE******
-----------------------------------------------------------------------------------
                           ************DO NOT PHOTOCOPY************
         Payment must be received on or before due date to avoid cancellation.
         For any billing questions, please call 800-295-8016. If you have
         questions concerning your coverage, please contact your agent listed above.




POLICY NUMBER:
UNH 0063322 00 00 32 8400100                                AMOUNT DUE NOW

                                                            LOAN NUMBER:
                                                            PLEASE REMIT PAYMENT TO:

PAULA BULLOCK                                               UPC Insurance
732 OSMOND RD                                               P.O. Box 31512
SEMORA NC 27343                                             Tampa, FL                33631-3512




                                     UPC0032UNH00633220002041402041400000459508
UPC 109 10 04




                     Case 1:16-cv-00996-CCE-JEP Document 1-1 Filed 07/25/16 Page 24 of 74
                             UPC^1
                             INSURANCE
02/05/2014


PAULA BULLOCK
732 OSMOND RD
SEMORA NC 27343


Policy #     UNH 0063322 00 32



Welcome to UPC Insurance

Dear New UPC Customer:

Enclosed is your new UPC Homeowners Policy. All of us at UPC Insurance want to welcome you
to our family of policyholders.

UPC's corporate office is located in St. Petersburg, Florida. Our company has achieved a position
of leadership in the homeowners insurance market through a clearly defined vision, innovative and
focused growth, competitive rates and excellent service to our customers.

To make certain that the homes we insure meet our underwriting guidelines, UPC inspects the
majority of all new homeowner policies. If your policy is one of the risks selected, a home
inspector will be visiting your property soon to measure square footage and make sure that there
are no safety hazards that need to be corrected. The inspection is only for the outside of your
home (unless your home contains a wood-burning/pellet stove - if so, we will need to inspect the
stove also), and the inspector will present proper identification. The inspection report will then be
sent to your insurance agent and if there are any recommendations, your agent will contact you.

Please find the bill enclosed within this new business packet, unless the premium is paid through
an escrow account.

UPC is dedicated to providing you with outstanding service. Should you have a claim, please
contact us on our toll free claim number, 1-800-861-4370, or if you prefer, you can report your
claim online through our website at www.upcinsurance.com . Should you want to change your
policy in any way, all you need to do is contact your agent who will be glad to help you.

Your agent and UPC look forward to assisting you in any way that we can to make certain that
your homeowners policy reflects all of your insurance needs. We encourage you to visit our
website and learn more about us and we are delighted that you have selected UPC to insure your
home.



                         360 CENTRAL AVENUE, SUITE 900 • ST. PETERSBURG, FL 33701
                             UNITED PROPERTY & CASUALTY INSURANCE COMPANY
                                        WWW.UPCINSURANCE.COM




        Case 1:16-cv-00996-CCE-JEP Document 1-1 Filed 07/25/16 Page 25 of 74
UPC(\
INSURANCE




                        IMPORTANT NOTICE



  WARNING: THIS PROPERTY INSURANCE POLICY DOES NOT PROTECT
YOU AGAINST LOSSES FROM FLOODS, EARTHQUAKES, MUDSLIDES,
MUDFLOWS, LANDSLIDES. YOU SHOULD CONTACT YOUR INSURANCE
COMPANY OR AGENT TO DISCUSS YOUR OPTIONS FOR OBTAINING
COVERAGE FOR THESE LOSSES. THIS IS NOT A COMPLETE LISTING OF
ALL OF THE CAUSES OF LOSSES NOT COVERED UNDER YOUR POLICY.
YOU SHOULD READ YOUR ENTIRE POLICY TO UNDERSTAND WHAT IS
COVERED AND WHAT IS NOT COVERED.




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                                                                      HOMEOWNERS DECLARATION
    V V             -1                                                                               POLICY PERIOD
                                                                      POLICY NUMBER
    INSURANCE
                                                                                                   From                        To
    UNITED PROPERTY & CASUALTY INSURANCE CO
    P.O. Box 51149                                                    UNH 0063322 00 32     02/04/2014                02/04/2015
                                                                                            12:01 a. m at the residence premises.
    Sarasota, FL 34232-0330

    POLICY DECLARATION                         Effective:02/04/2014           Date Issued: 02/05/2014


     INSURED:                                                  AGENT: 8400100

     PAULA BULLOCK                                                   COACHES CASUALTY INS OF NC INC
     732 OSMOND RD                                                   DBA LACY WEST INSURANCE
     SEMORA NC 27343                                                 PO BOX 2138
                                                                     ELIZABETHTOWN NC 28337
     Telephone: 910-862-4156                                         Telephone: 910-862-4156
     The residence premises covered by this policy is located at the address listed below.
      732 OSMOND RD                        SEMORA NC 27343




     Coverage is provided where premium and limit of liability is shown. Flood coverage is not provided and is not a
     part of this policy.
    SECTION I COVERAGE                                 LIMIT OF LIABILITY                                                 PREMIUMS
      A.   DWELLING                                        $425,000.00                                               $1,747.00
      B.   OTHER STRUCTURES                                 $42,500.00                                                 INCLUDED
      C.   PERSONAL PROPERTY                               $212,500.00                                                 INCLUDED
      D.   LOSS OF USE                                      $85,000.00                                     UPC Insuran gXLUDED
    SECTION II COVERAGE
      E. PERSONAL LIABILITY                                  $300,000.00      "This is a true and certified                     $8.00
      F. MEDICAL PAYMENTS                                      $1,000.00     copy f riginal Policy issued"                   INCLUDED
    OPTIONAL COVERAGES


                                                                                     Sig
                                                                                                       21 )rl
                                                                                                           Date
      Continued on Additional Coverages Schedule


 The above coverages are subject to a $2,500 All Other Peril Deductible per
 non-Windstorm or Hail loss.

 The above coverages are subject to a               1918/ 1$4$25950 Windstorm or Hail Deductible per
 Windstorm or Hail loss.

 TOTAL POLICY PREMIUM INCLUDING ASSESSMENTS AND ALL SURCHARGES:                                                              $1,826.00




 PLEASE CONTACT YOUR AGENT IF THERE ARE ANY QUESTIONS PERTAINING TO YOUR POLICY.
  FORMS AND ENDORSEMENTS
 MHO 0003 (10/00)           "HO 0312     (10/00)               COUNTERSIGNED DATE   02/05/2014
 "HO 0484 (01/09)           - -10 0490   (10/00)
 WHO 3201 (06/05)           -HO 3220     (05/03)
 WHO 3232 (06/10)           -`HO 3246    (05/03)               BY
Continued on Forms Schedule
  ADDITIONAL INTERESTS




UPC 101 03 99                                       INSURED COPY                                                      Page    1 of 4




                Case 1:16-cv-00996-CCE-JEP Document 1-1 Filed 07/25/16 Page 27 of 74
                                                                      HOMEOWNERS DECLARATION
 INSURANCE                                                            POLICY NUMBER   POLICY PERIOD
 UNITED PROPERTY & CASUALTY INS CO                                                                    From                                  To
 P.O. Box 51149                                                      UNH 0063322 00 32          02/04/2014                             02/04/2015
 Sarasota, FL 34232-0330                                                                       12:01 a.m. at the residence premises.



 POLICY DECLARATION                                Effective: 02/04/2014                  Date Issued:02/05/2014


  INSURED:                                                       AGENT: 8400100
  PAULA BULLOCK                                                  COACHES CASUALTY INS OF NC INC
  732 OSMOND RD                                                  DBA LACY WEST INSURANCE
  SEMORA NC 27343                                                PO BOX 2138
                                                                 ELIZABETHTOWN NC 28337
  Telephone: 910-862-4156                                        Telephone: 910-862-4156
  The residence premises covered by this policy is located at the above insured address unless otherwise stated below:

  732 OSMOND RD                                SEMORA NC 27343
                                                                                 Premium:

                                     CREDITS/SURCHARGES:
                               Protective Devices Credit                               N/A
                                           Book Transfer                               N/A
                                        Companion Credit                               N/A
                            Superior Construction Credit                               N/A
                                   Deductible Adjustment                          -$538.00
                                              Claim Free                               N/A
                                  Water Loss Prev Credit                               N/A
                                   New Purchase Discount                               N/A
                                         Claim Surcharge                               N/A
                                       Mitigation Credit                               N/A              * Included in Base Premium
                                     Secured Comm Credit                               N/A
                           Age of Home Credit(Surcharge)                           $217.00
                                 Inflation Guard Premium                               N/A
                                  Max Credit (Surcharge)                               N/A
                                           Mature Credit                               N/A
                             Prior Ins Credit(Surcharge)                          -$103.00
                                         Hip Roof Credit                               N/A




  TOTAL POLICY PREMIUM INCLUDING ALL SURCHARGES                                 $1,826.00
                             ************* Additional Information *************
      This replaces all previously issued policy declarations, if any. This policy applies to accidents,
      occurrences, or losses which happen during the policy period shown above. In case of loss
      under Section I, only that part of loss over the stated deductible applies. The declarations page
      together with all policy provisions and any other applicable endorsements completes your
      policy.

FLOOD CARRIER                    N/A
FORM TYPE                        HO-3            YEAR BUILT                        1975            TOWN/ROW HOUSE
CONSTRUCT TYPE                   F               CONSTRUCT SUPERIOR                N               NUMBER OF FAMILIES                          00001
AOP TERRITORY                    046             PROTECTION CLASS                  9E              USE CODE                                    P
COUNTY CODE                      017             PROT DEVICE/BURGLAR               N               PROT DEVICE/FIRE                            N
PROT DEV/SPRINKLER               N               REPLACEMENT COST                  Y               OCCUPANCY CODE                              OWNER
FLOOD CREDIT                     N               INFLATION GUARD                   N/A             WATER PREVENTION CR                         N




UPC 101 09 11                                         INSURED COPY                                                               Page 2 of 4


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     UPCt1
     INSURANCE
                                                              POLICY NUMBER               POLICY PERIOD
                                                                                          From        To
     UNITED PROPERTY & CASUALTY INS CO
     P.O. Box 51149                                           UNH 0063322 00 32       02/04/2014              02/04/2015
                                                                                  12:01 a.m. at the residence premises.
     Sarasota, FL 34232-0330

                        ADDITIONAL COVERAGES SCHEDULE
                                               (continued from page 1)
      Coverage Type                      Description                                                  Limit                Premium
     ADD'L AMNT OF INS -3/5              25%                                                                                $41.00
     EQUIPMENT BREAKDOWN                                                                 $50,000.00                       INCLUDED
     ID THEFT EXP & RESOL SERV                                                           $25,000.00                       INCLUDED
     WATER BACK-UP AND SUMP                                                              $10,000.00                         $30.00




UPC 101 09 11                                  INSURED COPY                                                        Page 3 of 4


                Case 1:16-cv-00996-CCE-JEP Document 1-1 Filed 07/25/16 Page 29 of 74
 U PCf1                                                          POLICY NUMBER              POLICY PERIOD
 INSURANCE
                                                                                         From                        To
 UNITED PROPERTY & CASUALTY INS CO
 P.O. Box 51149                                              UNH 0063322 00 32     02/04/2014               02/04/2015
                                                                                  12:01 a.m. at the residence premises.
 Sarasota, FL 34232-0330




                                           FORMS SCHEDULE
                                              (continued from page 1)

 * HO 3296 (05/03)     " ILN 001 (09/03)     " ILP 001 (01/04)         " UPC 424NC (03/12)             " UPCHO207NC(03/13)
 " UPCNCCTRHO(04/13)




UPC 101 09 11                               INSURED COPY                                                          Page 4 of 4



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                                                                                                   HOMEOWNERS
                                                                                                  HO 00031000
                                  HOMEOWNERS 3 - SPECIAL FORM
AGREEMENT                                                      3. "Business" means:
We will provide the insurance described in this policy              a.   A trade, profession or occupation engaged
in return for the premium and compliance with all ap-                    in on a full-time, part-time or occasional
plicable provisions of this policy.                                      basis; or
DEFINITIONS                                                         b. Any other activity engaged in for money
                                                                       or other compensation, except the follow-
A.   In this policy, "you" and "your" refer to the                     ing:
     "named insured" shown in the Declarations and
     the spouse if a resident of the same household.                     (1) One or more activities, not described
     "We", "us" and "our" refer to the Company pro-                          in (2) through (4) below, for which no
     viding this insurance.                                                  "insured" receives more than $2,000
                                                                             in total compensation for the 12
B. In addition, certain words and phrases are defined                        months before the beginning of the
   as follows:                                                               policy period;
     1. "Aircraft Liability", "Hovercraft Liability",                    (2) Volunteer activities for which no mon-
         "Motor Vehicle Liability" and "Watercraft Lia-                      ey is received other than payment for
         bility", subject to the provisions in b. below,                     expenses incurred to perform the ac-
         mean the following:                                                 tivity;
        a.     Liability for "bodily injury" or "property                (3) Providing home day care services for
               damage" arising out of the:                                   which no compensation is received,
               (1) Ownership of such vehicle or craft by                     other than the mutual exchange of
                   an "insured";                                             such services; or
               (2) Maintenance, occupancy, operation,                    (4) The rendering of home day care serv-
                   use, loading or unloading of such ve-                     ices to a relative of an "insured".
                   hicle or craft by any person;               4.   "Employee" means an employee of an "in-
               (3) Entrustment of such vehicle or craft             sured", or an employee leased to an "insured"
                   by an "insured" to any person;                   by a labor leasing firm under an agreement
                                                                    between an "insured" and the labor leasing
               (4) Failure to supervise or negligent sup-           firm, whose duties are other than those per-
                   ervision of any person involving such            formed by a "residence employee".
                   vehicle or craft by an "insured"; or
                                                               5.   "Insured" means:
               (5) Vicarious liability, whether or not im-
                   posed by law, for the actions of a               a.   You and residents of your household who
                   child or minor involving such vehicle                 are:
                   or craft.                                             (1) Your relatives; or
         b.    For the purpose of this definition:                       (2) Other persons under the age of 21
               (1) Aircraft means any contrivance used                       and in the care of any person named
                   or designed for flight except model or                    above;
                   hobby aircraft not used or designed to           b.   A student enrolled in school full time, as
                   carry people or cargo;                                defined by the school, who was a resident
               (2) Hovercraft means a self-propelled mo-                 of your household before moving out to
                   torized ground effect vehicle and in-                 attend school, provided the student is un-
                   cludes, but is not limited to, flarecraft             der the age of:
                   and air cushion vehicles;                             (1) 24 and your relative; or
               (3) Watercraft means a craft principally                  (2) 21 and in your care or the care of a
                   designed to be propelled on or in wa-                     person described in a.(1) above; or
                   ter by wind, engine power or electric
                   motor; and                                       c. Under Section II:
               (4) Motor vehicle means a "motor vehi-                    (1) With respect to animals or watercraft
                   cle" as defined in 7. below.                              to which this policy applies, any per-
                                                                             son or organization legally responsible
     2. "Bodily injury" means bodily harm, sickness                          for these animals or watercraft which
        or disease, including required care, loss of                         are owned by you or any person in-
        services and death that results.

HO 00 03 10 00                     Copyright, Insurance Services Office, Inc., 1999                     Page 1 of 22



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               cluded in a. or b. above. "Insured"                b.   Any trailer or semitrailer which is being
               does not mean a person or organiza-                     carried on, towed by or hitched for towing
               tion using or having custody of these                   by a vehicle described in a. above.
               animals or watercraft in the course of
                                                              8. "Occurrence" means an accident, including
               any "business" or without consent of
                                                                 continuous or repeated exposure to substan-
               the owner; or
                                                                 tially the same general harmful conditions,
            (2) With respect to a "motor vehicle" to             which results, during the policy period, in:
                which this policy applies:
                                                                  a.   "Bodily injury"; or
               (a) Persons while engaged in your
                                                                  b.   "Property damage".
                   employ or that of any person in-
                   cluded in a. or b. above; or               9. "Property damage" means physical injury to,
                                                                 destruction of, or loss of use of tangible prop-
               (b) Other persons using the vehicle on
                                                                 erty.
                   an "insured location" with your
                   consent.                                   10. "Residence employee" means:
      Under both Sections I and II, when the word                 a.   An employee of an "insured", or an em-
      an immediately precedes the word "insured",                      ployee leased to an "insured" by a labor
      the words an "insured" together mean one or                      leasing firm, under an agreement between
      more "insureds".                                                 an "insured" and the labor leasing firm,
                                                                       whose duties are related to the main-
   6. "Insured location" means:
                                                                       tenance or use of the "residence prem-
      a.    The "residence premises";                                  ises", including household or domestic
                                                                       services; or
      b. The part of other premises, other struc-
          tures and grounds used by you as a resi-                b.   One who performs similar duties else-
          dence; and                                                   where not related to the "business" of an
                                                                       "insured".
            (1) Which is shown in the Declarations;
                or                                                A "residence employee" does not include a
                                                                  temporary employee who is furnished to an
            (2) Which is acquired by you during the               "insured" to substitute for a permanent "resi-
                policy period for your use as a resi-             dence employee" on leave or to meet season-
                dence;                                            al or short-term workload conditions.
      c. Any premises used by you in connection               11. "Residence premises" means:
          with a premises described in a. and b.
          above;                                                  a.   The one family dwelling where you reside;
      d. Any part of a premises:                                  b.   The two, three or four family dwelling
                                                                       where you reside in at least one of the
            (1) Not owned by an "insured"; and                         family units; or
            (2) Where an "insured" is temporarily re-             c.   That part of any other building where you
                siding;                                                reside;
      e. Vacant land, other than farm land, owned                 and which is shown as the "residence premi-
          by or rented to an "insured";                           ses" in the Declarations.
      f. Land owned by or rented to an "insured"                  "Residence premises" also includes other
          on which a one, two, three or four family               structures and grounds at that location.
          dwelling is being built as a residence for
          an "insured";                                    DEDUCTIBLE

      g-    Individual or family cemetery plots or buri-   Unless otherwise noted in this policy, the following
            al vaults of an "insured"; or                  deductible provision applies:
       h. Any part of a premises occasionally rent-        Subject to the policy limits that apply, we will pay on-
           ed to an "insured" for other than "busi-        ly that part of the total of all loss payable under Sec-
           ness" use.                                      tion I that exceeds the deductible amount shown in
                                                           the Declarations.
   7. "Motor vehicle" means:
                                                           SECTION I - PROPERTY COVERAGES
       a. A self-propelled land or amphibious vehi-
           cle; or                                         A. Coverage A - Dwelling
                                                               1. We cover:



HO 00 03 10 00                  Copyright, Insurance Services Office, Inc., 1999                     Page 2 of 22



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       a.    The dwelling on the "residence premises"             other than the "residence premises", is 10%
             shown in the Declarations, including                 of the limit of liability for Coverage C, or
             srtuctures attached to the dwelling; and             $1,000, whichever is greater. However, this
                                                                  limitation does not apply to personal property:
       b.    Materials and supplies located on or next
             to the "residence premises" used to con-             a.    Moved from the "residence premises" be-
             struct, alter or repair the dwelling or other              cause it is being repaired, renovated or re-
             structures on the "residence premises".                    built and is not fit to live in or store prop-
                                                                        erty in; or
   2. We do not cover land, including land on
      which the dwelling is located.                              b.    In a newly acquired principal residence for
                                                                        30 days from the time you begin to move
B. Coverage B - Other Structures                                        the property there.
   1. We cover other structures on the "residence             3. Special Limits Of Liability
      premises" set apart from the dwelling by clear
      space. This includes structures connected to                The special limit for each category shown be-
      the dwelling by only a fence, utility line, or              low is the total limit for each loss for all prop-
      similar connection.                                         erty in that category. These special limits do
                                                                  not increase the Coverage C limit of liability.
   2. We do not cover:
                                                                  a.    $200 on money, bank notes, bullion, gold
       a.    Land, including land on which the other                    other than goldware, silver other than silv-
             structures are located;                                    erware, platinum other than platinum-
       b.    Other structures rented or held for rental                 ware, coins, medals, scrip, stored value
             to any person not a tenant of the dwell-                   cards and smart cards.
             ing, unless used solely as a private ga-             b.    $1,500 on securities, accounts, deeds,
             rage;                                                      evidences of debt, letters of credit, notes
       c.    Other structures from which any "busi-                     other than bank notes, manuscripts, per-
             ness" is conducted; or                                     sonal records, passports, tickets and
                                                                        stamps. This dollar limit applies to these
       d.    Other structures used to store "business"                  categories regardless of the medium (such
             property. However, we do cover a struc-                    as paper or computer software) on which
             ture that contains "business" property                     the material exists.
             solely owned by an "insured" or a tenant
             of the dwelling provided that "business"                   This limit includes the cost to research,
             property does not include gaseous or liq-                  replace or restore the information from the
             uid fuel, other than fuel in a permanently                 lost or damaged material.
             installed fuel tank of a vehicle or craft            c.    $1,500 on watercraft of all types, includ-
             parked or stored in the structure.                         ing their trailers, furnishings, equipment
   3. The limit of liability for this coverage will not                 and outboard engines or motors.
      be more than 10% of the limit of liability that             d.    $1,500 on trailers or semitrailers not used
      applies to Coverage A. Use of this coverage                       with watercraft of all types.
      does not reduce the Coverage A limit of lia-
      bility.                                                     e.    $1,500 for loss by theft of jewelry,
                                                                        watches, furs, precious and semiprecious
C. Coverage C - Personal Property                                       stones.
   1. Covered Property                                            f.    $2,500 for loss by theft of firearms and
       We cover personal property owned or used by                      related equipment.
       an "insured" while it is anywhere in the                    g. $2,500 for loss by theft of silverware,
       world. After a loss and at your request, we                     silver-plated ware, goldware, gold-plated
       will cover personal property owned by:                          ware, platinumware, platinum-plated ware
       a.    Others while the property is on the part of               and pewterware. This includes flatware,
             the "residence premises" occupied by an                   hollowware, tea sets, trays and trophies
             "insured"; or                                             made of or including silver, gold or pew-
                                                                       ter.
       b.    A guest or a "residence employee", while
             the property is in any residence occupied             h.   $2,500 on property, on the "residence
             by an "insured".                                           premises", used primarily for "business"
                                                                        purposes.
    2. Limit For Property At Other Residences
                                                                   i.   $500 on property, away from the "resi-
       Our limit of liability for personal property                     dence premises", used primarily for "busi-
       usually located at an "insured's" residence,                     ness" purposes. However, this limit does

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           not apply to loss to electronic apparatus                     (a) Used solely to service an "in-
           and other property described in Categories                        sured's" residence; or
           j. and k. below.
                                                                         (b) Designed to assist the handi-
     j. $1,500 on electronic apparatus and ac-                               capped;
         cessories, while in or upon a "motor vehi-                   Aircraft meaning any contrivance used or
                                                                 d.
         cle", but only if the apparatus is equipped
                                                                      designed for flight including any parts
         to be operated by power from the "motor
                                                                      whether or not attached to the aircraft.
         vehicle's" electrical system while still cap-
         able of being operated by other power                        We do cover model or hobby aircraft not
         sources.                                                     used or designed to carry people or cargo;
           Accessories include antennas, tapes,                  e.   Hovercraft and parts. Hovercraft means a
           wires, records, discs or other media that                  self-propelled motorized ground effect ve-
           can be used with any apparatus described                   hicle and includes, but is not limited to,
           in this Category j.                                        flarecraft and air cushion vehicles;
      k. $1,500 on electronic apparatus and ac-                  f.   Property of roomers, boarders and other
          cessories used primarily for "business"                     tenants, except property of roomers and
          while away from the "residence premises"                    boarders related to an "insured";
          and not in or upon a "motor vehicle". The
          apparatus must be equipped to be oper-                 g• Property in an apartment regularly rented
                                                                     or held for rental to others by an "in-
          ated by power from the "motor vehicle's"
                                                                     sured", except as provided in E.10. Land-
          electrical system while still capable of be-
                                                                     lord's Furnishings under Section I - Prop-
          ing operated by other power sources.
                                                                     erty Coverages;
            Accessories include antennas, tapes,
                                                                 h. Property rented or held for rental to others
            wires, records, discs or other media that
            can be used with any apparatus described                 off the "residence premises";
            in this Category k.                                       "Business" data, including such data
                                                                      stored in:
  4. Property Not Covered
                                                                      (1) Books of account, drawings or other
      We do not cover:
                                                                          paper records; or
      a. Articles separately described and specifi-
                                                                      (2) Computers and related equipment.
         cally insured, regardless of the limit for
         which they are insured, in this or other in-                 We do cover the cost of blank recording
         surance;                                                     or storage media, and of prerecorded
                                                                      computer programs available on the retail
      b. Animals, birds or fish;
                                                                      market;
      c.    "Motor vehicles".
                                                                 j. Credit cards, electronic fund transfer
            (1) This includes:                                       cards or access devices used solely for
                                                                     deposit, withdrawal or transfer of funds
                (a) Their accessories, equipment and                 except as provided in E.6. Credit Card,
                    parts; or                                        Electronic Fund Transfer Card Or Access
                (b) Electronic apparatus and acces-                  Device, Forgery And Counterfeit Money
                    sories designed to be operated                   under Section I - Property Coverages; or
                    solely by power from the electrical
                                                                  k. Water or steam.
                    system of the "motor vehicle".
                    Accessories include antennas,         D. Coverage D - Loss Of Use
                    tapes, wires, records, discs or
                                                              The limit of liability for Coverage D is the total
                    other media that can be used with
                                                              limit for the coverages in 1. Additional Living Ex-
                    any apparatus described above.
                                                              pense, 2. Fair Rental Value and 3. Civil Authority
                The exclusion of property described in        Prohibits Use below.
                (a) and (b) above applies only while
                                                              1. Additional Living Expense
                such property is in or upon the "motor
                vehicle".                                         If a loss covered under Section I makes that
                                                                  part of the "residence premises" where you
            (2) We do cover "motor vehicles" not re-
                                                                  reside not fit to live in, we cover any neces-
                quired to be registered for use on pub-
                                                                  sary increase in living expenses incurred by
                lic roads or property which are:
                                                                  you so that your household can maintain its
                                                                  normal standard of living.



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        Payment will be for the shortest time required                (2) A neighbor's tree(s) felled by a Peril
        to repair or replace the damage or, if you per-                   Insured Against under Coverage C;
        manently relocate, the shortest time required
                                                                      provided the tree(s):
        for your household to settle elsewhere.
                                                                      (3) Damage(s) a covered structure; or
   2.   Fair Rental Value
                                                                      (4) Does not damage a covered structure,
        If a loss covered under Section I makes that
                                                                          but:
        part of the "residence premises" rented to
        others or held for rental by you not fit to live                  (a) Block(s) a driveway on the "resi-
        in, we cover the fair rental value of such                            dence premises" which prevent(s)
        premises less any expenses that do not con-                           a "motor vehicle", that is regis-
        tinue while it is not fit to live in.                                 tered for use on public roads or
                                                                              property, from entering or leaving
        Payment will be for the shortest time required
                                                                              the "residence premises"; or
        to repair or replace such premises.
                                                                          (b) Block(s) a ramp or other fixture
   3.   Civil Authority Prohibits Use
                                                                              designed to assist a handicapped
        If a civil authority prohibits you from use of                        person to enter or leave the dwell-
        the "residence premises" as a result of direct                        ing building.
        damage to neighboring premises by a Peril In-
                                                                      The $1,000 limit is the most we will pay
        sured Against, we cover the loss as provided
                                                                      in any one loss regardless of the number
        in 1. Additional Living Expense and 2. Fair
                                                                      of fallen trees. No more than $500 of this
        Rental Value above for no more than two
                                                                      limit will be paid for the removal of any
        weeks.
                                                                      one tree.
   4.   Loss Or Expense Not Covered
                                                                      This coverage is additional insurance.
        We do not cover loss or expense due to can-
                                                             2. Reasonable Repairs
        cellation of a lease or agreement.
                                                                 a.   We will pay the reasonable cost incurred
   The periods of time under 1. Additional Living Ex-
                                                                      by you for the necessary measures taken
   pense, 2. Fair Rental Value and 3. Civil Authority
                                                                      solely to protect covered property that is
   Prohibits Use above are not limited by expiration
                                                                      damaged by a Peril Insured Against from
   of this policy.
                                                                      further damage.
E. Additional Coverages                                               If the measures taken involve repair to
                                                                 b.
   1. Debris Removal                                                  other damaged property, we will only pay
                                                                      if that property is covered under this poli-
        a. We will pay your reasonable expense for                    cy and the damage is caused by a Peril In-
           the removal of:                                            sured Against. This coverage does not:
            (1) Debris of covered property if a Peril                 (1) Increase the limit of liability that ap-
                Insured Against that applies to the                       plies to the covered property; or
                damaged property causes the loss; or
                                                                      (2) Relieve you of your duties, in case of
            (2) Ash, dust or particles from a volcanic                    a loss to covered property, described
                eruption that has caused direct loss to                   in B.4. under Section I - Conditions.
                a building or property contained in a
                building.                                    3. Trees, Shrubs And Other Plants
            This expense is included in the limit of lia-        We cover trees, shrubs, plants or lawns, on
            bility that applies to the damaged proper-           the "residence premises", for loss caused by
            ty. If the amount to be paid for the actual          the following Perils Insured Against:
            damage to the property plus the debris re-
                                                                 a.   Fire or Lightning;
            moval expense is more than the limit of li-
            ability for the damaged property, an addi-           b.   Explosion;
            tional 5% of that limit is available for such
                                                                 c.   Riot or Civil Commotion;
            expense.
                                                                 d.   Aircraft;
        b. We will also pay your reasonable expense,
            up to $1,000, for the removal from the               e.   Vehicles not owned or operated by a resi-
            "residence premises" of:                                  dent of the "residence premises";
            (1) Your tree(s) felled by the peril of              f.   Vandalism or Malicious Mischief; or
                Windstorm or Hail or Weight of Ice,
                Snow or Sleet; or                                g.   Theft.



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      We will pay up to 5% of the limit of liability                  This coverage is additional insurance. No
      that applies to the dwelling for all trees,                     deductible applies to this coverage.
      shrubs, plants or lawns. No more than $500
                                                                 b. We do not cover:
      of this limit will be paid for any one tree,
      shrub or plant. We do not cover property                        (1) Use of a credit card, electronic fund
      grown for "business" purposes.                                      transfer card or access device:
      This coverage is additional insurance.                              (a) By a resident of your household;
   4. Fire Department Service Charge                                      (b) By a person who has been en-
                                                                              trusted with either type of card or
      We will pay up to $500 for your liability as-
                                                                              access device; or
      sumed by contract or agreement for fire de-
      partment charges incurred when the fire de-                         (c) If an "insured" has not complied
      partment is called to save or protect covered                           with all terms and conditions un-
      property from a Peril Insured Against. We do                            der which the cards are issued or
      not cover fire department service charges if                            the devices accessed; or
      the property is located within the limits of the
      city, municipality or protection district furnish-              (2) Loss arising out of "business" use or
      ing the fire department response.                                   dishonesty of an "insured".

      This coverage is additional insurance. No de-              c. If the coverage in a. above applies, the
      ductible applies to this coverage.                             following defense provisions also apply:

   5. Property Removed                                                (1) We may investigate and settle any
                                                                          claim or suit that we decide is appro-
      We insure covered property against direct loss                      priate. Our duty to defend a claim or
      from any cause while being removed from a                           suit ends when the amount we pay
      premises endangered by a Peril Insured                              for the loss equals our limit of liability.
      Against and for no more than 30 days while
      removed.                                                        (2) If a suit is brought against an "in-
                                                                          sured" for liability under a.(1) or (2)
      This coverage does not change the limit of lia-                     above, we will provide a defense at
      bility that applies to the property being re-                       our expense by counsel of our choice.
      moved.
                                                                      (3) We have the option to defend at our
   6. Credit Card, Electronic Fund Transfer Card Or                       expense an "insured" or an "in-
       Access Device, Forgery And Counterfeit Mon-                        sured's" bank against any suit for the
       ey                                                                 enforcement of payment under a.(3)
                                                                          above.
      a.    We will pay up to $500 for:
                                                             7. Loss Assessment
            (1) The legal obligation of an "insured" to
                pay because of the theft or unauthor-            a.   We will pay up to $1,000 for your share
                ized use of credit cards issued to or                 of loss assessment charged during the
                registered in an "insured's" name;                    policy period against you, as owner or
                                                                      tenant of the "residence premises", by a
            (2) Loss resulting from theft or unauthor-
                                                                      corporation or association of property
                ized use of an electronic fund transfer
                                                                      owners. The assessment must be made
                card or access device used for de-
                                                                      as a result of direct loss to property,
                posit, withdrawal or transfer of funds,
                                                                      owned by all members collectively, of the
                issued to or registered in an "in-
                                                                      type that would be covered by this policy
                sured's" name;
                                                                      if owned by you, caused by a Peril In-
            (3) Loss to an "insured" caused by for-                   sured Against under Coverage A, other
                gery or alteration of any check or ne-                than:
                gotiable instrument; and
                                                                      (1) Earthquake; or
            (4) Loss to an "insured" through accept-
                                                                      (2) Land shock waves or tremors before,
                ance in good faith of counterfeit
                                                                          during or after a volcanic eruption.
                United States or Canadian paper cur-
                rency.                                                The limit of $1,000 is the most we will
                                                                      pay with respect to any one loss, regard-
            All loss resulting from a series of acts
                                                                      less of the number of assessments. We
            committed by any one person or in which
                                                                      will only apply one deductible, per unit, to
            any one person is concerned or implicated
                                                                      the total amount of any one loss to the
            is considered to be one loss.




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            property described above, regardless of                     tion if the collapse occurs during the
            the number of assessments.                                  course of the construction, remodeling
                                                                        or renovation.
      b. We do not cover assessments charged
         against you or a corporation or associa-               c.   Loss to an awning, fence, patio, deck,
         tion of property owners by any govern-                      pavement, swimming pool, underground
         mental body.                                                pipe, flue, drain, cesspool, septic tank,
                                                                     foundation, retaining wall, bulkhead, pier,
      c.    Paragraph P. Policy Period under Section I               wharf or dock is not included under b.(2)
            - Conditions does not apply to this cover-               through (6) above, unless the loss is a di-
            age.                                                     rect result of the collapse of a building or
      This coverage is additional insurance.                         any part of a building.
   8. Collapse                                                  d.   This coverage does not increase the limit
                                                                     of liability that applies to the damaged
      a.    With respect to this Additional Coverage:                covered property.
            (1) Collapse means an abrupt falling down       9. Glass Or Safety Glazing Material
                or caving in of a building or any part
                of a building with the result that the          a.   We cover:
                building or part of the building cannot
                                                                     (1) The breakage of glass or safety glaz-
                be occupied for its current intended                     ing material which is part of a covered
                purpose.                                                 building, storm door or storm window;
            (2) A building or any part of a building                 (2) The breakage of glass or safety glaz-
                that is in danger of falling down or                     ing material which is part of a covered
                caving in is not considered to be in a
                                                                         building, storm door or storm window
                state of collapse.                                       when caused directly by earth move-
            (3) A part of a building that is standing is                 ment; and
                not considered to be in a state of col-
                                                                     (3) The direct physical loss to covered
                lapse even if it has separated from an-                  property caused solely by the pieces,
                other part of the building.
                                                                         fragments or splinters of broken glass
            (4) A building or any part of a building                     or safety glazing material which is part
                that is standing is not considered to                    of a building, storm door or storm
                be in a state of collapse even if it                     window.
                shows evidence of cracking, bulging,            b.   This coverage does not include loss:
                sagging, bending, leaning, settling,
                shrinkage or expansion.                              (1) To covered property which results be-
                                                                         cause the glass or safety glazing ma-
      b. We insure for direct physical loss to cov-                      terial has been broken, except as pro-
         ered property involving collapse of a build-
                                                                         vided in a.(3) above; or
         ing or any part of a building if the collapse
         was caused by one or more of the follow-                    (2) On the "residence premises" if the
         ing:                                                            dwelling has been vacant for more
                                                                         than 60 consecutive days immediately
            (1) The Perils Insured Against named un-                     before the loss, except when the
                der Coverage C;                                          breakage results directly from earth
            (2) Decay that is hidden from view, un-                      movement as provided in a.(2) above.
                less the presence of such decay is                       A dwelling being constructed is not
                known to an "insured" prior to col-                      considered vacant.
                lapse;
                                                                c.   This coverage does not increase the limit
            (3) Insect or vermin damage that is hid-                 of liability that applies to the damaged
                den from view, unless the presence of                property.
                such damage is known to an "in-
                                                             10. Landlord's Furnishings
                sured" prior to collapse;
                                                                We will pay up to $2,500 for your appliances,
            (4) Weight of contents, equipment, ani-
                                                                carpeting and other household furnishings, in
                mals or people;                                 each apartment on the "residence premises"
            (5) Weight of rain which collects on a              regularly rented or held for rental to others by
                roof; or                                        an "insured", for loss caused by a Peril In-
                                                                sured Against in Coverage C, other than
            (6) Use of defective material or methods            Theft.
                in construction, remodeling or renova-


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     This limit is the most we will pay in any one                         waste. Waste includes materials to be
     loss regardless of the number of appliances,                          recycled, reconditioned or reclaimed.
     carpeting or other household furnishings in-                  This coverage is additional insurance.
     volved in the loss.
                                                              12. Grave Markers
     This coverage does not increase the limit of li-
     ability applying to the damaged property.                     We will pay up to $5,000 for grave markers,
                                                                   including mausoleums, on or away from the
  11. Ordinance Or Law                                             "residence premises" for loss caused by a
      a.   You may use up to 10% of the limit of lia-              Peril Insured Against under Coverage C.
           bility that applies to Coverage A for the               This coverage does not increase the limits of
           increased costs you incur due to the en-                liability that apply to the damaged covered
           forcement of any ordinance or law which
                                                                   property.
           requires or regulates:
                                                           SECTION I - PERILS INSURED AGAINST
           (1) The construction, demolition, remodel-
               ing, renovation or repair of that part of   A. Coverage A - Dwelling And Coverage B - Other
               a covered building or other structure           Structures
               damaged by a Peril Insured Against;
                                                              1. We insure against risk of direct physical loss
           (2) The demolition and reconstruction of              to property described in Coverages A and B.
               the undamaged part of a covered
                                                              2.   We do not insure, however, for loss:
               building or other structure, when that
               building or other structure must be to-             a.   Excluded under Section I - Exclusions;
               tally demolished because of damage
               by a Peril Insured Against to another               b.   Involving collapse, except as provided in
               part of that covered building or other                   E.8. Collapse under Section I - Property
               structure; or                                            Coverages; or

           (3) The remodeling, removal or replace-                 c.   Caused by:
               ment of the portion of the undamaged                     (1) Freezing of a plumbing, heating, air
               part of a covered building or other                          conditioning or automatic fire protec-
               structure necessary to complete the                          tive sprinkler system or of a house-
               remodeling, repair or replacement of                         hold appliance, or by discharge, leak-
               that part of the covered building or                         age or overflow from within the sys-
               other structure damaged by a Peril In-                       tem or appliance caused by freezing.
               sured Against.                                               This provision does not apply if you
            You may use all or part of this ordinance                       have used reasonable care to:
      b.
            or law coverage to pay for the increased                        (a) Maintain heat in the building; or
            costs you incur to remove debris resulting
            from the construction, demolition, remod-                       (b) Shut off the water supply and
            eling, renovation, repair or replacement of                         drain all systems and appliances
            property as stated in a. above.                                     of water.

      c.    We do not cover:                                                However, if the building is protected
                                                                            by an automatic fire protective sprin-
            (1) The loss in value to any covered build-                     kler system, you must use reasonable
                ing or other structure due to the re-                       care to continue the water supply and
                quirements of any ordinance or law;                         maintain heat in the building for cover-
                or                                                          age to apply.
            (2) The costs to comply with any ordi-                          For purposes of this provision a
                nance or law which requires any "in-                        pluming system or household appli-
                sured" or others to test for, monitor,                      ance does not include a sump, sump
                clean up, remove, contain, treat, de-                       pump or related equipment or a roof
                toxify or neutralize, or in any way re-                     drain, gutter, downspout or similar fix-
                spond to, or assess the effects of,                         tures or equipment;
                pollutants in or on any covered build-
                ing or other structure.                                 (2) Freezing, thawing, pressure or weight
                                                                            of water or ice, whether driven by
                Pollutants means any solid, liquid,                         wind or not, to a:
                gaseous or thermal irritant or contami-
                nant, including smoke, vapor, soot,                         (a) Fence, pavement, patio or swim-
                fumes, acids, alkalis, chemicals and                            ming pool;




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             (b) Footing, foundation, bulkhead,                       (e) Discharge, dispersal, seepage, mi-
                 wall, or any other structure or de-                      gration, release or escape of pol-
                 vice that supports all or part of a                      lutants unless the discharge, dis-
                 building, or other structure;                            persal, seepage, migration, release
                                                                          or escape is itself caused by a Per-
             (c) Retaining wall or bulkhead that                          il Insured Against named under
                 does not support all or part of a                        Coverage C.
                 building or other structure; or
                                                                          Pollutants means any solid, liquid,
             (d) Pier, wharf or dock;                                     gaseous or thermal irritant or con-
          (3) Theft in or to a dwelling under con-                        taminant, including smoke, vapor,
              struction, or of materials and supplies                     soot, fumes, acids, alkalis, chemi-
              for use in the construction until the                       cals and waste. Waste includes
              dwelling is finished and occupied;                          materials to be recycled, recondi-
                                                                          tioned or reclaimed;
          (4) Vandalism and malicious mischief, and
              any ensuing loss caused by any inten-                   (f) Settling, shrinking, bulging or ex-
              tional and wrongful act committed in                        pansion, including resultant crack-
              the course of the vandalism or mali-                        ing, of bulkheads, pavements,
              cious mischief, if the dwelling has                         patios, footings, foundations,
              been vacant for more than 60 conse-                         walls, floors, roofs or ceilings;
              cutive days immediately before the
              loss. A dwelling being constructed is                   (g) Birds, vermin, rodents, or insects;
                                                                          or
              not considered vacant;
                                                                      (h) Animals owned or kept by an "in-
         (5) Mold, fungus or wet rot. However, we
                                                                          sured".
             do insure for loss caused by mold,
             fungus or wet rot that is hidden within              Exception To c.(6)
             the walls or ceilings or beneath the
                                                                  Unless the loss is otherwise excluded, we
             floors or above the ceilings of a struc-
                                                                  cover loss to property covered under Cov-
             ture if such loss results from the acci-
                                                                  erage A or B resulting from an accidental
             dental discharge or overflow of water
                                                                  discharge or overflow of water or steam
             or steam from within:
                                                                  from within a:
             (a) A plumbing, heating, air condition-
                                                                  (i) Storm drain, or water, steam or sewer
                 ing or automatic fire protective
                                                                       pipe, off the "residence premises"; or
                 sprinkler system, or a household
                 appliance, on the "residence prem-               (ii) Plumbing, heating, air conditioning or
                 ises"; or                                             automatic fire protective sprinkler sys-
                                                                       tem or household appliance on the
             (b) A storm drain, or water, steam or
                                                                       "residence premises". This includes
                 sewer pipes, off the "residence
                                                                       the cost to tear out and replace any
                 premises".
                                                                       part of a building, or other structure,
             For purposes of this provision, a                         on the "residence premises", but only
             plumbing system or household appli-                       when necessary to repair the system
             ance does not include a sump, sump                        or appliance. However, such tear out
             pump or related equipment or a roof                       and replacement coverage only applies
             drain, gutter, downspout or similar fix-                  to other structures if the water or
             tures or equipment; or                                    steam causes actual damage to a
                                                                       building on the "residence premises".
         (6) Any of the following:
                                                                  We do not cover loss to the system or ap-
             (a) Wear and tear, marring, deterio-
                                                                  pliance from which this water or steam
                 ration;
                                                                  escaped.
             (b) Mechanical breakdown, latent de-
                                                                  For purposes of this provision, a plumbing
                 fect, inherent vice, or any quality
                                                                  system or household appliance does not
                 in property that causes it to dam-
                                                                  include a sump, sump pump or related
                 age or destroy itself;
                                                                  equipment or a roof drain, gutter, down
             (c) Smog, rust or other corrosion, or                spout or similar fixtures or equipment.
                 dry rot;
                                                              Section I - Exclusion A.3. Water Damage, Par-
             (d) Smoke from agricultural smudging             agraphs a. and c. that apply to surface water
                 or industrial operations;                    and water below the surface of the ground do



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        not apply to loss by water covered under                          the construction until the dwelling is
        c.(5) and (6) above.                                              finished and occupied;
        Under 2.b. and c. above, any ensuing loss to                   (3) From that part of a "residence premi-
        property described in Coverages A and B not                        ses" rented by an "insured" to some-
        precluded by any other provision in this policy                    one other than another "insured"; or
        is covered.
                                                                       (4) That occurs off the "residence premi-
B. Coverage C - Personal Property                                          ses" of:
   We insure for direct physical loss to the property                     (a) Trailers, semitrailers and campers;
   described in Coverage C caused by any of the fol-
                                                                          (b) Watercraft of all types, and their
   lowing perils unless the loss is excluded in Sec-
                                                                              furnishings, equipment and out-
   tion I - Exclusions.
                                                                              board engines or motors; or
   1.   Fire Or Lightning
                                                                          (c) Property while at any other resi-
   2.   Windstorm Or Hail                                                     dence owned by, rented to, or oc-
                                                                              cupied by an "insured", except
        This peril includes loss to watercraft of all                         while an "insured" is temporarily
        types and their trailers, furnishings, equip-                         living there. Property of an "in-
        ment, and outboard engines or motors, only                            sured" who is a student is cov-
        while inside a fully enclosed building.                               ered while at the residence the
        This peril does not include loss to the prop-                         student occupies to attend school
        erty contained in a building caused by rain,                          as long as the student has been
        snow, sleet, sand or dust unless the direct                           there at any time during the 60
        force of wind or hail damages the building                            days immediately before the loss.
        causing an opening in a roof or wall and the          10. Falling Objects
        rain, snow, sleet, sand or dust enters through
        this opening.                                             This peril does not include loss to property
                                                                  contained in a building unless the roof or an
   3.   Explosion                                                 outside wall of the building is first damaged
   4.   Riot Or Civil Commotion                                   by a falling object. Damage to the falling ob-
                                                                  ject itself is not included.
   5.   Aircraft
                                                              11. Weight Of Ice, Snow Or Sleet
        This peril includes self-propelled missiles and
        spacecraft.                                               This peril means weight of ice, snow or sleet
                                                                  which causes damage to property contained
   6.   Vehicles                                                  in a building.
   7.   Smoke                                                 12. Accidental Discharge Or Overflow Of Water
        This peril means sudden and accidental dam-               Or Steam
        age from smoke, including the emission or                 a.   This peril means accidental discharge or
        puffback of smoke, soot, fumes or vapors                       overflow of water or steam from within a
        from a boiler, furnace or related equipment.                   plumbing, heating, air conditioning or au-
        This peril does not include loss caused by                     tomatic fire protective sprinkler system or
        smoke from agricultural smudging or industrial                 from within a household appliance.
        operations.                                               b.   This peril does not include loss:
   8.   Vandalism Or Malicious Mischief                                (1) To the system or appliance from
   9.   Theft                                                              which the water or steam escaped;

        a.    This peril includes attempted theft and                  (2) Caused by or resulting from freezing
              loss of property from a known place when                     except as provided in Peril Insured
              it is likely that the property has been stol-                Against 14. Freezing;
              en.                                                      (3) On the "residence premises" caused
        b. This peril does not include loss caused by                      by accidental discharge or overflow
           theft:                                                          which occurs off the "residence prem-
                                                                           ises"; or
              (1) Committed by an "insured";
                                                                       (4) Caused by mold, fungus or wet rot
              (2) In or to a dwelling under construction,                  unless hidden within the walls or ceil-
                  or of materials and supplies for use in                  ings or beneath the floors or above
                                                                           the ceilings of a structure.


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       c.   In this peril, a plumbing system or house-       contributing concurrently or in any sequence to
            hold appliance does not include a sump,          the loss. These exclusions apply whether or not
            sump pump or related equipment or a roof         the loss event results in widespread damage or
            drain, gutter, downspout or similar fix-         affects a substantial area.
            tures or equipment.
                                                             1. Ordinance Or Law
       d.   Section I - Exclusion A.3. Water Damage,
                                                                 Ordinance Or Law means any ordinance or
            Paragraphs a. and c. that apply to surface
                                                                 law:
            water and water below the surface of the
            ground do not apply to loss by water cov-            a.   Requiring or regulating the construction,
            ered under this peril.                                    demolition, remodeling, renovation or re-
                                                                      pair of property, including removal of any
   13. Sudden And Accidental Tearing Apart, Crack-
                                                                      resulting debris. This Exclusion A.1.a.
       ing, Burning Or Bulging
                                                                      does not apply to the amount of coverage
       This peril means sudden and accidental tear-                   that may be provided for in E.11. Ordi-
       ing apart, cracking, burning or bulging of a                   nance Or Law under Section I - Property
       steam or hot water heating system, an air                      Coverages;
       conditioning or automatic fire protective sprin-
                                                                 b.   The requirements of which result in a loss
       kler system, or an appliance for heating wa-
                                                                      in value to property; or
       ter.
                                                                 c.   Requiring any "insured" or others to test
       We do not cover loss caused by or resulting
                                                                      for, monitor, clean up, remove, contain,
       from freezing under this peril.
                                                                      treat, detoxify or neutralize, or in any way
   14. Freezing                                                       respond to, or assess the effects of, pol-
                                                                      lutants.
       a. This peril means freezing of a plumbing,
           heating, air conditioning or automatic fire                Pollutants means any solid, liquid, gas-
           protective sprinkler system or of a house-                 eous or thermal irritant or contaminant, in-
           hold appliance but only if you have used                   cluding smoke, vapor, soot, fumes, acids,
           reasonable care to:                                        alkalis, chemicals and waste. Waste in-
                                                                      cludes materials to be recycled, recondi-
            (1) Maintain heat in the building; or                     tioned or reclaimed.
            (2) Shut off the water supply and drain all          This Exclusion A.1. applies whether or not the
                systems and appliances of water.                 property has been physically damaged.
            However, if the building is protected by
                                                             2. Earth Movement
            an automatic fire protective sprinkler sys-
            tem, you must use reasonable care to                 Earth Movement means:
            continue the water supply and maintain
                                                                 a.   Earthquake, including land shock waves
            heat in the building for coverage to apply.
                                                                      or tremors before, during or after a vol-
       b.   In this peril, a plumbing system or house-                canic eruption;
            hold appliance does not include a sump,
                                                                 b.   Landslide, mudslide or mudflow;
            sump pump or related equipment or a roof
            drain, gutter, downspout or similar fix-             c.   Subsidence or sinkhole; or
            tures or equipment.
                                                                 d.   Any other earth movement including earth
   15. Sudden And Accidental Damage From Arti-                        sinking, rising or shifting;
       ficially Generated Electrical Current
                                                                 caused by or resulting from human or animal
       This peril does not include loss to tubes,                forces or any act of nature unless direct loss
       transistors, electronic components or circuitry           by fire or explosion ensues and then we will
       that are a part of appliances, fixtures, com-             pay only for the ensuing loss.
       puters, home entertainment units or other
       types of electronic apparatus.                            This Exclusion A.2. does not apply to loss by
                                                                 theft.
   16. Volcanic Eruption
                                                             3. Water Damage
       This peril does not include loss caused by
       earthquake, land shock waves or tremors.                  Water Damage means:

SECTION I - EXCLUSIONS                                           a.   Flood, surface water, waves, tidal water,
                                                                      overflow of a body of water, or spray
A. We do not insure for loss caused directly or indi-                 from any of these, whether or not driven
   rectly by any of the following. Such loss is ex-                   by wind;
   cluded regardless of any other cause or event


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     b.    Water or water-borne material which               9. Governmental Action
           backs up through sewers or drains or                    Governmental Action means the destruction,
           which overflows or is discharged from a                 confiscation or seizure of property described
           sump, sump pump or related equipment;
                                                                   in Coverage A, B or C by order of any govern-
           or                                                      mental or public authority.
     c.    Water or water-borne material below the                 This exclusion does not apply to such acts or-
           surface of the ground, including water                  dered by any governmental or public authority
           which exerts pressure on or seeps or                    that are taken at the time of a fire to prevent
           leaks through a building, sidewalk, drive-
                                                                   its spread, if the loss caused by fire would be
           way, foundation, swimming pool or other
                                                                   covered under this policy.
           structure;
                                                          B. We do not insure for loss to property described in
     caused by or resulting from human or animal
                                                             Coverages A and B caused by any of the fol-
     forces or any act of nature.                            lowing. However, any ensuing loss to property
     Direct loss by fire, explosion or theft resulting       described in Coverages A and B not precluded by
     from water damage is covered.                           any other provision in this policy is covered.
  4. Power Failure                                           1. Weather conditions. However, this exclusion
                                                                only applies if weather conditions contribute
     Power Failure means the failure of power or                in any way with a cause or event excluded in
     other utility service if the failure takes place           A. above to produce the loss.
     off the "residence premises". But if the failure
     results in a loss, from a Peril Insured Against         2.    Acts or decisions, including the failure to act
     on the "residence premises", we will pay for                  or decide, of any person, group, organization
     the loss caused by that peril.                                or governmental body.
  5. Neglect                                                 3.    Faulty, inadequate or defective:
     Neglect means neglect of an "insured" to use                  a.   Planning, zoning, development, surveying,
     all reasonable means to save and preserve                          siting;
     property at and after the time of a loss.                          Design, specifications, workmanship, re-
                                                                   b.
  6. War                                                                pair, construction, renovation, remodeling,
                                                                        grading, compaction;
     War includes the following and any conse-
     quence of any of the following:                               c.   Materials used in repair, construction, ren-
                                                                        ovation or remodeling; or
     a.    Undeclared war, civil war, insurrection, re-
           bellion or revolution;                                  d.   Maintenance;
     b. Warlike act by a military force or military                of part or all of any property whether on or
        personnel; or                                              off the "residence premises".
     c.    Destruction, seizure or use for a military     SECTION I - CONDITIONS
           purpose.
                                                          A. Insurable Interest And Limit Of Liability
     Discharge of a nuclear weapon will be
                                                             Even if more than one person has an insurable in-
     deemed a warlike act even if accidental.
                                                             terest in the property covered, we will not be lia-
  7. Nuclear Hazard                                          ble in any one loss:
     This Exclusion A.7. pertains to Nuclear Haz-             1. To an "insured" for more than the amount of
     ard to the extent set forth in M. Nuclear Haz-              such "insured's" interest at the time of loss;
     ard Clause under Section I - Conditions.                    or
  8. Intentional Loss                                         2.   For more than the applicable limit of liability.
     Intentional Loss means any loss arising out of       B. Duties After Loss
     any act an "insured" commits or conspires to
                                                              In case of a loss to covered property, we have no
     commit with the intent to cause a loss.
                                                              duty to provide coverage under this policy if the
     In the event of such loss, no "insured" is enti-         failure to comply with the following duties is pre-
     tled to coverage, even "insureds" who did not            judicial to us. These duties must be performed ei-
     commit or conspire to commit the act causing             ther by you, an "insured" seeking coverage, or a
     the loss.                                                representative of either:




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  1. Give prompt notice to us or our agent;                         Transfer Card Or Access Device, Forgery
                                                                    And Counterfeit Money under Section I -
  2. Notify the police in case of loss by theft;
                                                                    Property Coverages, stating the amount
  3. Notify the credit card or electronic fund trans-               and cause of loss.
     fer card or access device company in case of
                                                        C. Loss Settlement
     loss as provided for in E.6. Credit Card, Elec-
     tronic Fund Transfer Card Or Access Device,           In this Condition C., the terms "cost to repair or
     Forgery And Counterfeit Money under Section           replace" and "replacement cost" do not include
     I - Property Coverages;                               the increased costs incurred to comply with the
                                                           enforcement of any ordinance or law, except to
  4. Protect the property from further damage. If
                                                           the extent that coverage for these increased costs
     repairs to the property are required, you must:
                                                           is provided in E.11. Ordinance Or Law under Sec-
      a.    Make reasonable and necessary repairs to       tion I - Property Coverages. Covered property
            protect the property; and                      losses are settled as follows:
      b.    Keep an accurate record of repair ex-          1. Property of the following types:
            penses;
                                                               a.   Personal property;
  5. Cooperate with us in the investigation of a
                                                               b.   Awnings, carpeting, household appli-
     claim;
                                                                    ances, outdoor antennas and outdoor
  6. Prepare an inventory of damaged personal                       equipment, whether or not attached to
      property showing the quantity, description,                   buildings;
     actual cash value and amount of loss. Attach
                                                               c.   Structures that are not buildings; and
     all bills, receipts and related documents that
     justify the figures in the inventory;                     d.   Grave markers, including mausoleums;
  7. As often as we reasonably require:                        at actual cash value at the time of loss but
                                                               not more than the amount required to repair
     a.     Show the damaged property;
                                                               or replace.
     b.     Provide us with records and documents
                                                           2. Buildings covered under Coverage A or B at
            we request and permit us to make copies;
                                                              replacement cost without deduction for depre-
            and
                                                              ciation, subject to the following:
     c.     Submit to examination under oath, while
                                                               a.   If, at the time of loss, the amount of in-
            not in the presence of another "insured",
                                                                    surance in this policy on the damaged
            and sign the same;
                                                                    building is 80% or more of the full re-
  8. Send to us, within 60 days after our request,                  placement cost of the building immediate-
     your signed, sworn proof of loss which sets                    ly before the loss, we will pay the cost to
     forth, to the best of your knowledge and be-                   repair or replace, after application of any
     lief:                                                          deductible and without deduction for de-
                                                                    preciation, but not more than the least of
     a.    The time and cause of loss;                              the following amounts:
     b. The interests of all "insureds" and all oth-                (1) The limit of liability under this policy
        ers in the property involved and all liens                      that applies to the building;
        on the property;
                                                                    (2) The replacement cost of that part of
     c.    Other insurance which may cover the                          the building damaged with material of
           loss;                                                        like kind and quality and for like use;
     d.    Changes in title or occupancy of the prop-                   or
           erty during the term of the policy;                      (3) The necessary amount actually spent
     e.    Specifications of damaged buildings and                      to repair or replace the damaged build-
           detailed repair estimates;                                   ing.
     f.    The inventory of damaged personal prop-                  If the building is rebuilt at a new premi-
           erty described in 6. above;                              ses, the cost described in (2) above is lim-
                                                                    ited to the cost which would have been
     g. Receipts for additional living expenses in-                 incurred if the building had been built at
         curred and records that support the fair                   the original premises.
         rental value loss; and
                                                               b.   If, at the time of loss, the amount of in-
     h. Evidence or affidavit that supports a claim                 surance in this policy on the damaged
         under E.6. Credit Card, Electronic Fund                    building is less than 80% of the full re-



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           placement cost of the building immediate-       D. Loss To A Pair Or Set
           ly before the loss, we will pay the greater
                                                              In case of loss to a pair or set we may elect to:
           of the following amounts, but not more
           than the limit of liability under this policy      1. Repair or replace any part to restore the pair
           that applies to the building:                         or set to its value before the loss; or
           (1) The actual cash value of that part of          2.   Pay the difference between actual cash value
               the building damaged; or                            of the property before and after the loss.
           (2) That proportion of the cost to repair       E. Appraisal
               or replace, after application of any de-
               ductible and without deduction for de-         If you and we fail to agree on the amount of loss,
               preciation, that part of the building          either may demand an appraisal of the loss. In
               damaged, which the total amount of             this event, each party will choose a competent
               insurance in this policy on the dam-           and impartial appraiser within 20 days after re-
               aged building bears to 80% of the re-          ceiving a written request from the other. The two
               placement cost of the building.                appraisers will choose an umpire. If they cannot
                                                              agree upon an umpire within 15 days, you or we
      c. To determine the amount of insurance re-             may request that the choice be made by a judge
          quired to equal 80% of the full replace-            of a court of record in the state where the "res-
          ment cost of the building immediately be-           idence premises" is located. The appraisers will
          fore the loss, do not include the value of:         separately set the amount of loss. If the ap-
           (1) Excavations, footings, foundations,            praisers submit a written report of an agreement
                                                              to us, the amount agreed upon will be the amount
               piers, or any other structures or de-
                                                              of loss. If they fail to agree, they will submit their
               vices that support all or part of the
                                                              differences to the umpire. A decision agreed to by
               building, which are below the under-
               surface of the lowest basement floor;          any two will set the amount of loss.

           (2) Those supports described in (1) above          Each party will:
               which are below the surface of the             1. Pay its own appraiser; and
               ground inside the foundation walls, if
               there is no basement; and                      2. Bear the other expenses of the appraisal and
                                                                 umpire equally.
           (3) Underground flues, pipes, wiring and
               drains.                                     F. Other Insurance And Service Agreement

      d.   We will pay no more than the actual cash           If a loss covered by this policy is also covered by:
           value of the damage until actual repair or         1. Other insurance, we will pay only the propor-
           replacement is complete. Once actual re-              tion of the loss that the limit of liability that
           pair or replacement is complete, we will              applies under this policy bears to the total
           settle the loss as noted in 2.a. and b.               amount of insurance covering the loss; or
           above.
                                                              2.   A service agreement, this insurance is excess
           However, if the cost to repair or replace               over any amounts payable under any such
           the damage is both:                                     agreement. Service agreement means a serv-
           (1) Less than 5% of the amount of insur-                ice plan, property restoration plan, home war-
               ance in this policy on the building; and            ranty or other similar service warranty agree-
                                                                   ment, even if it is characterized as insurance.
           (2) Less than $2,500;
                                                           G. Suit Against Us
           we will settle the loss as noted in 2.a. and
           b. above whether or not actual repair or           No action can be brought against us unless there
           replacement is complete.                           has been full compliance with all of the terms un-
                                                              der Section I of this policy and the action is start-
      e. You may disregard the replacement cost               ed within two years after the date of loss.
          loss settlement provisions and make claim
          under this policy for loss to buildings on       H. Our Option
          an actual cash value basis. You may then            If we give you written notice within 30 days after
          make claim for any additional liability ac-         we receive your signed, sworn proof of loss, we
          cording to the provisions of this Condition         may repair or replace any part of the damaged
          C. Loss Settlement, provided you notify             property with material or property of like kind and
          us of your intent to do so within 180 days          quality.
          after the date of loss.




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I. Loss Payment                                              L.   No Benefit To Bailee
     We will adjust all losses with you. We will pay              We will not recognize any assignment or grant
     you unless some other person is named in the                 any coverage that benefits a person or organiza-
     policy or is legally entitled to receive payment.            tion holding, storing or moving property for a fee
     Loss will be payable 60 days after we receive                regardless of any other provision of this policy.
     your proof of loss and:
                                                             M. Nuclear Hazard Clause
     1.   Reach an agreement with you;
                                                                  1. "Nuclear Hazard" means any nuclear reaction,
     2.   There is an entry of a final judgment; or                  radiation, or radioactive contamination, all
                                                                     whether controlled or uncontrolled or however
     3.   There is a filing of an appraisal award with us.
                                                                     caused, or any consequence of any of these.
J.   Abandonment Of Property
                                                                  2.   Loss caused by the nuclear hazard will not be
     We need not accept any property abandoned by                      considered loss caused by fire, explosion, or
     an "insured".                                                     smoke, whether these perils are specifically
                                                                       named in or otherwise included within the
K. Mortgage Clause                                                     Perils Insured Against.
     1.   If a mortgagee is named in this policy, any             3.   This policy does not apply under Section I to
          loss payable under Coverage A or B will be                   loss caused directly or indirectly by nuclear
          paid to the mortgagee and you, as interests                  hazard, except that direct loss by fire result-
          appear. If more than one mortgagee is named,                 ing from the nuclear hazard is covered.
          the order of payment will be the same as the
          order of precedence of the mortgages.              N. Recovered Property
     2.   If we deny your claim, that denial will not ap-         If you or we recover any property for which we
          ply to a valid claim of the mortgagee, if the           have made payment under this policy, you or we
          mortgagee:                                              will notify the other of the recovery. At your op-
                                                                  tion, the property will be returned to or retained
          a.   Notifies us of any change in ownership,            by you or it will become our property. If the re-
               occupancy or substantial change in risk of         covered property is returned to or retained by
               which the mortgagee is aware;                      you, the loss payment will be adjusted based on
          b.   Pays any premium due under this policy             the amount you received for the recovered prop-
               on demand if you have neglected to pay             erty.
               the premium; and                              O. Volcanic Eruption Period
          c.   Submits a signed, sworn statement of               One or more volcanic eruptions that occur within
               loss within 60 days after receiving notice         a 72 hour period will be considered as one vol-
               from us of your failure to do so. Para-            canic eruption.
               graphs E. Appraisal, G. Suit Against Us
               and I. Loss Payment under Section I -         P. Policy Period
               Conditions also apply to the mortgagee.
                                                                  This policy applies only to loss which occurs dur-
     3.   If we decide to cancel or not to renew this             ing the policy period.
          policy, the mortgagee will be notified at least
                                                             Q. Concealment Or Fraud
          10 days before the date cancellation or non-
          renewal takes effect.                                   We provide coverage to no "insureds" under this
                                                                  policy if, whether before or after a loss, an "in-
     4.   If we pay the mortgagee for any loss and
                                                                  sured" has:
          deny payment to you:
                                                                  1.   Intentionally concealed or misrepresented any
          a.   We are subrogated to all the rights of the
                                                                       material fact or circumstance;
               mortgagee granted under the mortgage on
               the property; or                                   2.   Engaged in fraudulent conduct; or
          b. At our option, we may pay to the mort-               3.   Made false statements;
             gagee the whole principal on the mort-
                                                                  relating to this insurance.
             gage plus any accrued interest. In this
             event, we will receive a full assignment        R. Loss Payable Clause
             and transfer of the mortgage and all se-
             curities held as collateral to the mortgage          If the Declarations show a loss payee for certain
             debt.                                                listed insured personal property, the definition of
                                                                  "insured" is changed to include that loss payee
     5. Subrogation will not impair the right of the              with respect to that property.
        mortgagee to recover the full amount of the
        mortgagee's claim.                                        If we decide to cancel or not renew this policy,
                                                                  that loss payee will be notified in writing.

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SECTION II - LIABILITY COVERAGES                                         quired by a law, or regulation issued by a
                                                                         government agency, for it to be used at
A. Coverage E - Personal Liability
                                                                         the place of the "occurrence"; or
    If a claim is made or a suit is brought against an
                                                                    c. Is being:
    "insured" for damages because of "bodily injury"
    or "property damage" caused by an "occurrence"                       (1) Operated in, or practicing for, any pre-
    to which this coverage applies, we will:                                 arranged or organized race, speed
                                                                             contest or other competition;
    1.   Pay up to our limit of liability for the damages
         for which an "insured" is legally liable. Dam-                  (2) Rented to others;
         ages include prejudgment interest awarded
         against an "insured"; and                                       (3) Used to carry persons or cargo for a
                                                                             charge; or
    2.   Provide a defense at our expense by counsel
         of our choice, even if the suit is groundless,                  (4) Used for any "business" purpose ex-
         false or fraudulent. We may investigate and                         cept for a motorized golf cart while on
         settle any claim or suit that we decide is ap-                      a golfing facility.
         propriate. Our duty to settle or defend ends          2.   If Exclusion A.1. does not apply, there is still
         when our limit of liability for the "occurrence"           no coverage for "motor vehicle liability" un-
         has been exhausted by payment of a judg-                   less the "motor vehicle" is:
         ment or settlement.
                                                                    a.   In dead storage on an "insured location";
B. Coverage F - Medical Payments To Others
                                                                    b.   Used solely to service an "insured's" resi-
    We will pay the necessary medical expenses that                      dence;
    are incurred or medically ascertained within three
    years from the date of an accident causing "bod-                c. Designed to assist the handicapped and,
    ily injury". Medical expenses means reasonable                      at the time of an "occurrence", it is:
    charges for medical, surgical, x-ray, dental, ambu-                  (1) Being used to assist a handicapped
    lance, hospital, professional nursing, prosthetic                        person; or
    devices and funeral services. This coverage does
    not apply to you or regular residents of your                        (2) Parked on an "insured location";
    household except "residence employees". As to                   d.   Designed for recreational use off public
    others, this coverage applies only:                                  roads and:
    1. To a person on the "insured location" with                        (1) Not owned by an "insured"; or
       the permission of an "insured"; or
                                                                         (2) Owned by an "insured" provided the
    2.   To a person off the "insured location", if the                      "occurrence" takes place on an "in-
         "bodily injury":                                                    sured location" as defined in Defini-
         a.   Arises out of a condition on the "insured                      tions B.6.a., b., d., e. or h.; or
              location" or the ways immediately adjoin-             e.   A motorized golf cart that is owned by an
              ing;                                                       "insured", designed to carry up to 4 per-
         b.   Is caused by the activities of an "insured";               sons, not built or modified after manufac-
                                                                         ture to exceed a speed of 25 miles per
         c.   Is caused by a "residence employee" in                     hour on level ground and, at the time of
              the course of the "residence employee's"                   an "occurrence", is within the legal boun-
              employment by an "insured"; or                             daries of:
         d.   Is caused by an animal owned by or in the                  (1) A golfing facility and is parked or
              care of an "insured".                                          stored there, or being used by an "in-
SECTION II - EXCLUSIONS                                                      sured" to:

A. "Motor Vehicle Liability"                                                (a) Play the game of golf or for other
                                                                                recreational or leisure activity al-
    1. Coverages E and F do not apply to any "mo-                               lowed by the facility;
       tor vehicle liability" if, at the time and place of
       an "occurrence", the involved "motor vehi-                           (b) Travel to or from an area where
       cle":                                                                    "motor vehicles" or golf carts are
                                                                                parked or stored; or
         a.   Is registered for use on public roads or
              property;                                                     (c) Cross public roads at designated
                                                                                points to access other parts of the
         b.   Is not registered for use on public roads                         golfing facility; or
              or property, but such registration is re-



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             (2) A private residential community, in-                        (d) More than 25 horsepower if the
                 cluding its public roads upon which a                           outboard engine or motor is
                 motorized golf cart can legally travel,                         owned by an "insured" who ac-
                 which is subject to the authority of a                          quired it before the policy period,
                 property owners association and con-                            but only if:
                 tains an "insured's" residence.
                                                                                 (i) You declare them at policy in-
B. "Watercraft Liability"                                                            ception; or
   1. Coverages E and F do not apply to any "wa-                                 (ii) Your intent to insure them is
      tercraft liability" if, at the time of an "occur-                               reported to us in writing with-
      rence", the involved watercraft is being:                                       in 45 days after you acquire
                                                                                      them.
        a.   Operated in, or practicing for, any prear-
             ranged or organized race, speed contest                         The coverages in (c) and (d) above ap-
             or other competition. This exclusion does                       ply for the policy period.
             not apply to a sailing vessel or a predicted
             log cruise;                                                 Horsepower means the maximum power
                                                                         rating assigned to the engine or motor by
        b.   Rented to others;                                           the manufacturer.
        c.   Used to carry persons or cargo for a           C. "Aircraft Liability"
             charge; or
                                                               This policy does not cover "aircraft liability".
        d.   Used for any "business" purpose.
                                                            D. "Hovercraft Liability"
   2.   If Exclusion B.1. does not apply, there is still
        no coverage for "watercraft liability" unless,         This policy does not cover "hovercraft liability".
        at the time of the "occurrence", the water-         E. Coverage E - Personal Liability And Coverage F -
        craft:                                                 Medical Payments To Others
        a.   Is stored;                                        Coverages E and F do not apply to the following:
        b.   Is a sailing vessel, with or without auxil-        1. Expected Or Intended Injury
             iary power, that is:
                                                                    "Bodily injury" or "property damage" which is
             (1) Less than 26 feet in overall length; or            expected or intended by an "insured" even if
             (2) 26 feet or more in overall length and              the resulting "bodily injury" or "property dam-
                                                                    age":
                 not owned by or rented to an "in-
                 sured"; or                                         a.   Is of a different kind, quality or degree
        c. Is not a sailing vessel and is powered by:                    than initially expected or intended; or
                                                                    b.   Is sustained by a different person, entity,
             (1) An inboard or inboard-outdrive engine
                 or motor, including those that power a                  real or personal property, than initially ex-
                 water jet pump, of:                                     pected or intended.

                 (a) 50 horsepower or less and not                 However, this Exclusion E.1. does not apply
                                                                   to "bodily injury" resulting from the use of
                     owned by an "insured"; or
                                                                   reasonable force by an "insured" to protect
                 (b) More than 50 horsepower and not               persons or property;
                     owned by or rented to an "in-
                     sured"; or                                2. "Business"

             (2) One or more outboard engines or mo-                a. "Bodily injury" or "property damage" aris-
                 tors with:                                             ing out of or in connection with a "busi-
                                                                        ness" conducted from an "insured loca-
                 (a) 25 total horsepower or less;                       tion" or engaged in by an "insured",
                                                                        whether or not the "business" is owned
                 (b) More than 25 horsepower if the
                                                                        or operated by an "insured" or employs an
                     outboard engine or motor is not
                                                                        "insured".
                     owned by an "insured";
                                                                         This Exclusion E.2. applies but is not lim-
                 (c) More than 25 horsepower if the
                                                                         ited to an act or omission, regardless of
                     outboard engine or motor is
                                                                         its nature or circumstance, involving a
                     owned by an "insured" who ac-
                                                                         service or duty rendered, promised, owed,
                     quired it during the policy period;
                                                                         or implied to be provided because of the
                     or
                                                                         nature of the "business".



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      b. This Exclusion E.2. does not apply to:              8. Controlled Substance
            (1) The rental or holding for rental of an           "Bodily injury" or "property damage" arising
                "insured location";                              out of the use, sale, manufacture, delivery,
                                                                 transfer or possession by any person of a
               (a) On an occasional basis if used on-
                                                                 Controlled Substance as defined by the Fed-
                   ly as a residence;
                                                                 eral Food and Drug Law at 21 U.S.C.A. Sec-
               (b) In part for use only as a residence,          tions 811 and 812. Controlled Substances in-
                   unless a single family unit is in-            clude but are not limited to cocaine, LSD,
                   tended for use by the occupying               marijuana and all narcotic drugs. However,
                   family to lodge more than two                 this exclusion does not apply to the legitimate
                   roomers or boarders; or                       use of prescription drugs by a person fol-
                                                                 lowing the orders of a licensed physician.
               (c) In part, as an office, school, stu-
                   dio or private garage; and                Exclusions A. "Motor Vehicle Liability", B. "Wa-
                                                             tercraft Liability", C. "Aircraft Liability", D. "Hov-
            (2) An "insured" under the age of 21             ercraft Liability" and E.4. "Insured's" Premises
                years involved in a part-time or occa-       Not An "Insured Location" do not apply to "bodily
                sional, self-employed "business" with        injury" to a "residence employee" arising out of
                no employees;                                and in the course of the "residence employee's"
   3. Professional Services                                  employment by an "insured".
      "Bodily injury" or "property damage" arising        F. Coverage E - Personal Liability
      out of the rendering of or failure to render           Coverage E does not apply to:
      professional services;
                                                             1. Liability:
   4. "Insured's" Premises Not An "Insured Loca-
       tion"                                                     a.   For any loss assessment charged against
                                                                      you as a member of an association, cor-
      "Bodily injury" or "property damage" arising                    poration or community of property own-
      out of a premises:                                              ers, except as provided in D. Loss Assess-
      a.    Owned by an "insured";                                    ment under Section II - Additional Cover-
                                                                      ages;
      b.    Rented to an "insured"; or
                                                                 b.   Under any contract or agreement entered
      c.    Rented to others by an "insured";                         into by an "insured". However, this exclu-
      that is not an "insured location";                              sion does not apply to written contracts:

   5. War                                                             (1) That directly relate to the ownership,
                                                                          maintenance or use of an "insured lo-
      "Bodily injury" or "property damage" caused                         cation"; or
      directly or indirectly by war, including the fol-
      lowing and any consequence of any of the                        (2) Where the liability of others is as-
      following:                                                          sumed by you prior to an "occur-
                                                                          rence";
      a.   Undeclared war, civil war, insurrection, re-
           bellion or revolution;                                     unless excluded in a. above or elsewhere
                                                                      in this policy;
      b.   Warlike act by a military force or military
           personnel; or                                     2. "Property damage" to property owned by an
                                                                "insured". This includes costs or expenses in-
      c.   Destruction, seizure or use for a military           curred by an "insured" or others to repair, re-
           purpose.                                             place, enhance, restore or maintain such prop-
      Discharge of a nuclear weapon will be                     erty to prevent injury to a person or damage
      deemed a warlike act even if accidental;                  to property of others, whether on or away
                                                                from an "insured location";
   6. Communicable Disease
                                                             3. "Property damage" to property rented to, oc-
      "Bodily injury" or "property damage" which                cupied or used by or in the care of an "in-
      arises out of the transmission of a communi-              sured". This exclusion does not apply to
      cable disease by an "insured";                            "property damage" caused by fire, smoke or
                                                                explosion;
   7. Sexual Molestation, Corporal Punishment Or
       Physical Or Mental Abuse                              4. "Bodily injury" to any person eligible to re-
                                                                 ceive any benefits voluntarily provided or re-
      "Bodily injury" or "property damage" arising
                                                                 quired to be provided by an "insured" under
      out of sexual molestation, corporal punish-
                                                                 any:
      ment or physical or mental abuse; or

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        a.   Workers' compensation law;                              d.   Any consequence of any of these; or
        b.   Non-occupational disability law; or               4. To any person, other than a "residence em-
                                                                  ployee" of an "insured", regularly residing on
        c.   Occupational disease law;
                                                                  any part of the "insured location".
   5. "Bodily injury" or "property damage" for
                                                            SECTION II - ADDITIONAL COVERAGES
      which an "insured" under this policy:
                                                            We cover the following in addition to the limits of lia-
        a. Is also an insured under a nuclear energy
                                                            bility:
             liability policy issued by the:
                                                            A. Claim Expenses
             (1) Nuclear Energy Liability Insurance As-
                 sociation;                                    We pay:
             (2) Mutual Atomic Energy Liability Under-          1.   Expenses we incur and costs taxed against an
                 writers;                                            "insured" in any suit we defend;
             (3) Nuclear Insurance Association of              2.    Premiums on bonds required in a suit we de-
                 Canada;                                             fend, but not for bond amounts more than the
                                                                     Coverage E limit of liability. We need not ap-
             or any of their successors; or
                                                                     ply for or furnish any bond;
        b. Would be an insured under such a policy
                                                                3.   Reasonable expenses incurred by an "insured"
           but for the exhaustion of its limit of liabil-
                                                                     at our request, including actual loss of earn-
           ity; or
                                                                     ings (but not loss of other income) up to
   6. "Bodily injury" to you or an "insured" as de-                  $250 per day, for assisting us in the inves-
      fined under Definitions 5.a. or b.                             tigation or defense of a claim or suit; and
        This exclusion also applies to any claim made          4.     Interest on the entire judgment which accrues
        or suit brought against you or an "insured":                 after entry of the judgment and before we pay
                                                                     or tender, or deposit in court that part of the
        a.   To repay; or                                            judgment which does not exceed the limit of
        b.   Share damages with;                                      liability that applies.
        another person who may be obligated to pay          B. First Aid Expenses
        damages because of "bodily injury" to an "in-           We will pay expenses for first aid to others in-
        sured".                                                 curred by an "insured" for "bodily injury" covered
G. Coverage F - Medical Payments To Others                      under this policy. We will not pay for first aid to
                                                                an "insured".
   Coverage F does not apply to "bodily injury":
                                                            C. Damage To Property Of Others
   1. To a "residence employee" if the "bodily inju-
       ry"                                                      1. We will pay, at replacement cost, up to
                                                                   $1,000 per "occurrence" for "property dam-
        a.   Occurs off the "insured location"; and                age" to property of others caused by an "in-
        b.   Does not arise out of or in the course of             sured".
             the "residence employee's" employment              2.   We will not pay for "property damage":
             by an "insured";
                                                                     a.   To the extent of any amount recoverable
   2. To any person eligible to receive benefits vol-                     under Section I;
      untarily provided or required to be provided
      under any:                                                     b.   Caused intentionally by an "insured" who
                                                                          is 13 years of age or older;
        a.   Workers' compensation law;
                                                                     c.   To property owned by an "insured";
        b.   Non-occupational disability law; or
                                                                     d.   To property owned by or rented to a ten-
        c.   Occupational disease law;                                    ant of an "insured" or a resident in your
   3.   From any:                                                         household; or

        a.   Nuclear reaction;                                       e.   Arising out of:

        b.   Nuclear radiation; or                                        (1) A "business" engaged in by an "in-
                                                                              sured";
        c.   Radioactive contamination;
                                                                          (2) Any act or omission in connection
        all whether controlled or uncontrolled or how-                        with a premises owned, rented or
        ever caused; or                                                       controlled by an "insured", other than
                                                                              the "insured location"; or


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           (3) The ownership, maintenance, occu-            SECTION II - CONDITIONS
               pancy, operation, use, loading or un-
               loading of aircraft, hovercraft, water-      A. Limit Of Liability
               craft or "motor vehicles".                       Our total liability under Coverage E for all dam-
               This exclusion e.(3) does not apply to           ages resulting from any one "occurrence" will not
               a "motor vehicle" that:                          be more than the Coverage E limit of liability
                                                                shown in the Declarations. This limit is the same
               (a) Is designed for recreational use off         regardless of the number of "insureds", claims
                   public roads;                                made or persons injured. All "bodily injury" and
                                                                "property damage" resulting from any one acci-
               (b) Is not owned by an "insured"; and
                                                                dent or from continuous or repeated exposure to
               (c) At the time of the "occurrence", is          substantially the same general harmful conditions
                   not required by law, or regulation           shall be considered to be the result of one "oc-
                   issued by a government agency,               currence".
                   to have been registered for it to be
                                                               Our total liability under Coverage F for all medical
                   used on public roads or property.
                                                               expense payable for "bodily injury" to one person
D. Loss Assessment                                             as the result of one accident will not be more
                                                               than the Coverage F limit of liability shown in the
   1. We will pay up to $1,000 for your share of               Declarations.
      loss assessment charged against you, as
      owner or tenant of the "residence premises",          B. Severability Of Insurance
      during the policy period by a corporation or
                                                               This insurance applies separately to each "in-
      association of property owners, when the as-
                                                               sured". This condition will not increase our limit
      sessment is made as a result of:
                                                               of liability for any one "occurrence".
      a.   "Bodily injury" or "property damage" not
                                                            C. Duties After "Occurrence"
           excluded from coverage under Section II -
           Exclusions; or                                      In case of an "occurrence", you or another "in-
      b.                                                       sured" will perform the following duties that ap-
           Liability for an act of a director, officer or
                                                               ply. We have no duty to provide coverage under
           trustee in the capacity as a director, offi-
                                                               this policy if your failure to comply with the fol-
           cer or trustee, provided such person:
                                                               lowing duties is prejudicial to us. You will help us
           (1) Is elected by the members of a corpo-           by seeing that these duties are performed:
               ration or association of property own-
                                                               1. Give written notice to us or our agent as soon
               ers; and
                                                                   as is practical, which sets forth:
           (2) Serves without deriving any income
                                                                    a.   The identity of the policy and the "named
               from the exercise of duties which are
                                                                         insured" shown in the Declarations;
               solely on behalf of a corporation or as-
               sociation of property owners.                        b.   Reasonably available information on the
   2. Paragraph I. Policy Period under Section II -                      time, place and circumstances of the "oc-
                                                                         currence"; and
      Conditions does not apply to this Loss As-
      sessment Coverage.                                            c.   Names and addresses of any claimants
                                                                         and witnesses;
   3. Regardless of the number of assessments, the
      limit of $1,000 is the most we will pay for              2. Cooperate with us in the investigation, settle-
      loss arising out of:                                         ment or defense of any claim or suit;
      a.   One accident, including continuous or re-           3.   Promptly forward to us every notice, demand,
           peated exposure to substantially the same                summons or other process relating to the "oc-
           general harmful condition; or                            currence";
      b. A covered act of a director, officer or               4. At our request, help us:
         trustee. An act involving more than one
         director, officer or trustee is considered to              a.   To make settlement;
         be a single act.                                           b.   To enforce any right of contribution or in-
  4. We do not cover assessments charged                                 demnity against any person or organiza-
     against you or a corporation or association of                      tion who may be liable to an "insured";
     property owners by any governmental body.                      c.   With the conduct of suits and attend hear-
                                                                         ings and trials; and




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          d. To secure and give evidence and obtain           J. Concealment Or Fraud
             the attendance of witnesses;
                                                                 We do not provide coverage to an "insured" who,
     5.   With respect to C. Damage To Property Of               whether before or after a loss, has:
          Others under Section II - Additional Cover-
                                                                 1.   Intentionally concealed or misrepresented any
          ages, submit to us within 60 days after the
                                                                      material fact or circumstance;
          loss, a sworn statement of loss and show the
          damaged property, if in an "insured's" con-            2.   Engaged in fraudulent conduct; or
          trol;
                                                                 3.   Made false statements;
     6.   No "insured" shall, except at such "insured's"
          own cost, voluntarily make payment, assume             relating to this insurance.
          obligation or incur expense other than for first    SECTIONS I AND II - CONDITIONS
          aid to others at the time of the "bodily injury".
                                                              A. Liberalization Clause
D. Duties Of An Injured Person - Coverage F - Medi-
   cal Payments To Others                                        If we make a change which broadens coverage
                                                                 under this edition of our policy without additional
     1. The injured person or someone acting for the             premium charge, that change will automatically
         injured person will:                                    apply to your insurance as of the date we imple-
          a.   Give us written proof of claim, under oath        ment the change in your state, provided that this
               if required, as soon as is practical; and         implementation date falls within 60 days prior to
                                                                 or during the policy period stated in the Declara-
          b. Authorize us to obtain copies of medical            tions.
             reports and records.
                                                                 This Liberalization Clause does not apply to
     2. The injured person will submit to a physical             changes implemented with a general program re-
        exam by a doctor of our choice when and as               vision that includes both broadenings and re-
        often as we reasonably require.                          strictions in coverage, whether that general pro-
E.   Payment Of Claim - Coverage F - Medical Pay-                gram revision is implemented through introduction
                                                                 of:
     ments To Others
                                                                  1. A subsequent edition of this policy; or
     Payment under this coverage is not an admission
     of liability by an "insured" or us.                         2.   An amendatory endorsement.
F. Suit Against Us                                            B. Waiver Or Change Of Policy Provisions
     1.   No action can be brought against us unless             A waiver or change of a provision of this policy
          there has been full compliance with all of the         must be in writing by us to be valid. Our request
          terms under this Section II.                           for an appraisal or examination will not waive any
                                                                 of our rights.
     2.   No one will have the right to join us as a party
          to any action against an "insured".                 C. Cancellation
     3.   Also, no action with respect to Coverage E              1. You may cancel this policy at any time by re-
          can be brought against us until the obligation             turning it to us or by letting us know in writ-
          of such "insured" has been determined by fin-              ing of the date cancellation is to take effect.
          al judgment or agreement signed by us.
                                                                 2.   We may cancel this policy only for the rea-
G. Bankruptcy Of An "Insured"                                         sons stated below by letting you know in
                                                                      writing of the date cancellation takes effect.
     Bankruptcy or insolvency of an "insured" will not
                                                                      This cancellation notice may be delivered to
     relieve us of our obligations under this policy.
                                                                      you, or mailed to you at your mailing address
H. Other Insurance                                                    shown in the Declarations. Proof of mailing
                                                                      will be sufficient proof of notice.
     This insurance is excess over other valid and col-
     lectible insurance except insurance written speci-               a.   When you have not paid the premium, we
     fically to cover as excess over the limits of lia-                    may cancel at any time by letting you
     bility that apply in this policy.                                     know at least 10 days before the date
                                                                           cancellation takes effect.
     Policy Period
                                                                      b.   When this policy has been in effect for
     This policy applies only to "bodily injury" or                        less than 60 days and is not a renewal
     "property damage" which occurs during the pol-                        with us, we may cancel for any reason by
     icy period.
                                                                           letting you know at least 10 days before
                                                                           the date cancellation takes effect.



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        c. When this policy has been in effect for 60     E. Assignment
            days or more, or at any time if it is a re-
                                                             Assignment of this policy will not be valid unless
            newal with us, we may cancel:
                                                             we give our written consent.
            (1) If there has been a material misrepre-
                                                          F. Subrogation
                sentation of fact which if known to us
                would have caused us not to issue the        An "insured" may waive in writing before a loss
                policy; or                                   all rights of recovery against any person. If not
                                                             waived, we may require an assignment of rights
            (2) If the risk has changed substantially
                                                             of recovery for a loss to the extent that payment
                since the policy was issued.
                                                             is made by us.
            This can be done by letting you know at
                                                             If an assignment is sought, an "insured" must
            least 30 days before the date cancellation
                                                             sign and deliver all related papers and cooperate
            takes effect.
                                                             with us.
        d. When this policy is written for a period of
                                                             Subrogation does not apply to Coverage F or Par-
           more than one year, we may cancel for
                                                             agraph C. Damage To Property Of Others under
           any reason at anniversary by letting you
                                                             Section II - Additional Coverages.
           know at least 30 days before the date
           cancellation takes effect.                     G. Death
   3.   When this policy is canceled, the premium for        If any person named in the Declarations or the
        the period from the date of cancellation to the      spouse, if a resident of the same household, dies,
        expiration date will be refunded pro rata.           the following apply:
   4.   If the return premium is not refunded with the       1. We insure the legal representative of the de-
        notice of cancellation or when this policy is           ceased but only with respect to the premises
        returned to us, we will refund it within a rea-         and property of the deceased covered under
        sonable time after the date cancellation takes          the policy at the time of death; and
        effect.
                                                             2.   "Insured" includes:
D. Nonrenewal
                                                                  a.   An "insured" who is a member of your
   We may elect not to renew this policy. We may                       household at the time of your death, but
   do so by delivering to you, or mailing to you at                    only while a resident of the "residence
   your mailing address shown in the Declarations,                     premises"; and
   written notice at least 30 days before the expira-
   tion date of this policy. Proof of mailing will be             b.   With respect to your property, the person
   sufficient proof of notice.                                         having proper temporary custody of the
                                                                       property until appointment and qualifica-
                                                                       tion of a legal representative.




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POLICY NUMBER:      UNH 0063322 00                                                                 HOMEOWNERS
                                                                                                  HO 03121000

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                    WINDSTORM OR HAIL PERCENTAGE DEDUCTIBLE
                                ALL FORMS EXCEPT HO 00 04 AND HO 00 06

                                                   SCHEDULE*

Windstorm Or Hail Deductible Percentage Amount:


* Entry may be left blank if shown elsewhere in this policy for this coverage.

DEDUCTIBLE                                                 The dollar amount of the windstorm or hail deductible
                                                           is determined by multiplying the Coverage A limit of
The following special deductible is added to the poli-
                                                           liability shown in the Declarations by the deductible
cy:
                                                           percentage amount shown in the Schedule above.
With respect to the peril of Windstorm Or Hail, we
                                                           No other deductible in the policy applies to loss
will pay only that part of the total of all loss payable
                                                           caused by windstorm or hail.
under Section I that exceeds the windstorm or hail
percentage deductible.                                     All other provisions of this policy apply.




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POLICY NUMBER          UNH 0063322 00                                                             HOMEOWNERS
                                                                                                 HO 04 84 01 09

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
               WATER BACK UP AND SUMP DISCHARGE OR
                   OVERFLOW - NORTH CAROLINA
                                                   SCHEDULE

 Limit Of Liability:       $
 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Coverage                                                  C. Special Deductible
   We will pay, up to the limit of liability shown               The following replaces any other deductible
   in the Schedule, for direct physical loss, not                provision in this policy with respect to loss
   caused by the negligence of an "insured", to                  covered under this endorsement.
   property covered under Section I caused by                    We will pay only that part of the total of all
   water, or water-borne material, which:                        loss payable under Section I that exceeds
    1.   Backs up through sewers or drains; or                   $250. No other deductible applies to this cov-
   2.    Overflows or is discharged from a:                      erage. This deductible does not apply with
                                                                 respect to Coverage D - Loss of Use.
         a.    Sump, sump pump; or
                                                             D. Exclusion
         b.    Related equipment;
                                                                 The Water Damage Exclusion is replaced by
         even if such overflow or discharge results              the following:
         from mechanical breakdown. This cover-
         age does not apply to direct physical loss              Water
         of the sump pump, or related equipment,                 This means:
         which is caused by mechanical break-                    1. Flood, including but not limited to flash
         down.                                                       flood, surface water, waves, including
   This endorsement does not increase the                            tidal wave and tsunami, seiche, tides,
   amount of insurance that applies to the cov-                      tidal water, overflow of any body of
   ered property.                                                    water, or spray from any of these, all
B. Section I - Perils Insured Against                                whether or not driven by wind, including
                                                                     storm surge;
   With respect to the coverage described in A.
   above, Paragraphs:                                            2. Water which:
   A.2.c.(6)(b) in Form HO 00 03;                                    a.   Backs up through sewers or drains; or
   A.2.e.(2) in Form HO 00 05;                                       b.   Overflows or is otherwise discharged
                                                                          from a sump, sump pump or related
   2.j.(2) in Endorsement HO 32 95;                                       equipment;
   3.j.(2) in Endorsement HO 32 35; and                              as a direct or indirect result of flood;
   2.c.(6)(b) in Endorsement HO 32 34;                           3. Water below the surface of the ground,
   are deleted and replaced by the following:                       including water which exerts pressure on,
                                                                    or seeps, leaks or flows through a build-
   Latent defect, inherent vice, or any quality in
                                                                    ing, sidewalk, driveway, patio, founda-
   property that causes it to damage or destroy
                                                                    tion, swimming pool or other structure; or
   itself;
                                                                 4. Waterborne material carried or otherwise
                                                                    moved by any of the water referred to in
                                                                    D.1. through D.3. of this Exclusion.




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    This Exclusion applies regardless of whether                dam, levee, seawall or any other boundary or
    any of the above, in D.1. through D.4., is                  containment system whether natural, man-
    caused by an act of nature, an act of man or                made or is otherwise made.
    is otherwise caused.
                                                                However, direct loss by fire, explosion or
    This Exclusion applies to, but is not limited to,           theft resulting from any of the above, in D.1.
    escape, overflow or discharge, for any rea-                 through D.4., is covered.
    son, of water or waterborne material from a
                                                            All other provisions of this policy apply.




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                                                                                                        HOMEOWNERS
                                                                                                       HO 04901000

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                            PERSONAL PROPERTY REPLACEMENT COST
                                      LOSS SETTLEMENT
A. Eligible Property                                             tied at actual cash value at the time of loss but
                                                                 not more than the amount required to repair or re-
     1. Covered losses to the following property are
                                                                 place.
         settled at replacement cost at the time of the
         loss:                                                    1. Antiques, fine arts, paintings and similar arti-
                                                                     cles of rarity or antiquity which cannot be re-
         a.   Coverage C; and
                                                                     placed.
         b.   If covered in this policy:
                                                                  2.   Memorabilia, souvenirs, collectors items and
              (1) Awnings, outdoor antennas and out-                   similar articles whose age or history contrib-
                  door equipment; and                                  ute to their value.
              (2) Carpeting and household appliances;             3.   Articles not maintained in good or workable
                                                                       condition.
              whether or not attached to buildings.
                                                                  4.   Articles that are outdated or obsolete and are
     2. This method of loss settlement will also apply                 stored or not being used.
        to the following articles or classes of property
        if they are separately described and specifical-      C. Replacement Cost Loss Settlement Condition
        ly insured in this policy and not subject to
                                                                  The following loss settlement condition applies to
        agreed value loss settlement:
                                                                  all property described in A. above:
         a.   Jewelry;                                            1. We will pay no more than the least of the fol-
         b.   Furs and garments:                                     lowing amounts:
              (1) Trimmed with fur; or                                 a.   Replacement cost at the time of loss with-
                                                                            out deduction for depreciation;
              (2) Consisting principally of fur;
                                                                       b.   The full cost of repair at the time of loss;
         c. Cameras, projection machines, films and
             related articles of equipment;                            c.   The limit of liability that applies to Cover-
                                                                            age C, if applicable;
         d.   Musical equipment and related articles of
              equipment;                                               d.   Any applicable special limits of liability
                                                                            stated in this policy; or
         e. Silverware, silver-plated ware, goldware,
             gold-plated ware and pewterware, but ex-                  e.   For loss to any item described in A.2.a. -
             cluding:                                                       f. above, the limit of liability that applies
                                                                            to the item.
              (1) Pens or pencils;
                                                                  2.   If the cost to repair or replace the property
              (2) Flasks;                                              described in A. above is more than $500, we
              (2) Smoking implements; or                               will pay no more than the actual cash value
                                                                       for the loss until the actual repair or replace-
              (3) Jewelry; and                                         ment is complete.
         f. Golfer's equipment meaning golf clubs,                3. You may make a claim for loss on an actual
             golf clothing and golf equipment.                       cash value basis and then make claim for any
     Personal Property Replacement Cost loss settle-                 additional liability in accordance with this en-
     ment will not apply to other classes of property                dorsement provided you notify us of your in-
     separately described and specifically insured.                  tent to do so within 180 days after the date
                                                                     of loss.
B.   Ineligible Property
                                                              All other provisions of this policy apply.
     Property listed below is not eligible for replace-
     ment cost loss settlement. Any loss will be set-




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                                                                                       HOMEOWNERS
                                                                                      HO 32 01 06 05

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              SPOUSE ACCESS - NORTH CAROLINA

SECTIONS I AND II - CONDITIONS                        The named insured may notify us that he/she no
The following condition is added:                     longer agrees that the resident spouse shall be
                                                      treated as a customer for purposes of state and
SPOUSE ACCESS                                         federal privacy laws, and we will not permit the
The named insured and we agree that the named         resident spouse to access policy information.
insured and resident spouse are customers for
purposes of state and federal privacy laws. The
resident spouse will have access to the same
information available to the named insured.




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POLICY NUMBER:       UNH 0063322 00                                                           HOMEOWNERS
                                                                                             HO 32 20 05 03

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                      SPECIFIED ADDITIONAL AMOUNT OF INSURANCE FOR
                        COVERAGE A - DWELLING - NORTH CAROLINA
                           FORMS HO 00 02 AND HO 00 03 AND HO 00 05 ONLY

        (APPLIES ONLY WHEN LOSS TO BUILDING INSURED UNDER COVERAGE A EXCEEDS THE
                  COVERAGE A LIMIT OF LIABILITY SHOWN IN THE DECLARATIONS)

                                                SCHEDULE*

Additional Amount Of Insurance:


The Additional Amount Of Insurance is determined by multiplying the Coverage A limit of liability shown in
the Declarations by the percentage amount shown above.
*Entry may be left blank if shown elsewhere in this policy for this coverage.



To the extent that coverage is provided, we agree               2. The building insured under Coverage A
to provide an additional amount of insurance in                    at replacement cost without deduction
accordance with the following provisions:                          for depreciation. We will pay no more
A. If you have:                                                    than the smallest of the following
                                                                   amounts:
    1. Allowed us to adjust the Coverage A limit
        of liability and the premium in accordance                  a.   The replacement cost of that part
        with:                                                            of the building damaged with mate-
                                                                         rial of like kind and quality and for
        a.    The property evaluations we make; and                      like use;
        b. Any increases in inflation; and                          b.   The necessary amount actually
   2. Notified us, within 30 days of completion,                         spent to repair or replace the dam-
      of any improvements, alterations or addi-                          aged building on the "residence
      tions to the building insured under Cover-                         premises" or some other premises
      age A which increase the replacement cost                          within the state of North Carolina;
      of the building by 5% or more;                                     or
   the provisions of this endorsement will apply                    c.   The limit of liability under this pol-
   after a loss, provided you elect to repair or re-                     icy that applies to the building, plus
   place the damaged building.                                           any additional amount provided by
B. If there is a loss to the building insured under                      this endorsement.
    Coverage A that exceeds the Coverage A limit                3. We will pay no more than the actual
    of liability shown in the Declarations, for the                cash value of the damage until actual
    purpose of settling that loss only:                            repair or replacement is complete.
    1. We will provide an additional amount of                  4. You may disregard the replacement
         insurance, up to the amount described in                  cost loss settlement provisions and
         the Schedule above; and                                   make claim under this policy for loss to
   2.   Section I - Condition C. Loss Settlement                   the building on an actual cash value
        Paragraph 2. is deleted and replaced by                    basis. You may then make claim for
        Paragraphs 2., 3., and 4. as follows:                      any additional liability on a replacement
                                                                   cost basis, provided you notify us of
                                                                   your intent to do so within 180 days
                                                                   after the date of loss.
                                                        All other provisions of this policy apply.




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                                                                                                 HOMEOWNERS
                                                                                                HO 32 32 06 10

        THIS ENDORSEMENT CHANGES THE                     POLICY. PLEASE READ IT CAREFULLY.


               SPECIAL PROVISIONS - NORTH CAROLINA
DEFINITIONS                                                                 (a) Used to service an "insured's"
Definition B.3. is replaced by the following:                                   residence; or
    3. "Business" includes any full- or part-time          E. Additional Coverages
         activity of any kind engaged in for eco-          In all forms except HO 00 06 and HO 00 08:
         nomic gain, including the use of any part of          1. Debris Removal         is replaced by the
         any premises for such purposes.                           following:
The following definition is added to Paragraph B. in           1. Debris Removal
all forms:
                                                                   a.   We will pay your reasonable expense
    12. "Fungi"
                                                                        for the removal of:
        a.   "Fungi" means any type or form of fun-                     (1) Debris of covered property if a Peril
             gus, including mold or mildew and any                          Insured Against that applies to the
             mycotoxins, spores, scents or by-prod-                         damaged property causes the loss;
             ucts produced or released by fungi.                            or
        b.   Under Section II, this does not include                    (2) Ash, dust or particles from a vol-
             any fungi that are, are on, or are con-                        canic eruption that has caused di-
             tained in any good or product intended                         rect loss to a building or property
             for consumption.                                               contained in a building.
SECTION I - PROPERTY COVERAGES                                          This expense is included in the limit of
C. Coverage C - Personal Property                                       liability that applies to the damaged
   3.   Special Limits Of Liability                                     property. If the amount to be paid for
                                                                        the actual damage to the property plus
        Paragraphs f. and g. are deleted in all forms                   the debris removal expense is more
        except HO 00 08, and deleted in Endorse-                        than the limit of liability for the dam-
        ments HO 32 95 and HO 32 35 when                                aged property, an additional 5% of that
        made part of Forms HO 00 04 and                                 limit of liability is available for debris
        HO 00 06, respectively. Paragraphs f. and                       removal expense.
        g. in those forms are replaced by the
        following:                                                 b.   We will also pay your reasonable ex-
                                                                        pense, up to $500, for the removal
        f. 10% of the Coverage C limit, subject to                      from the "residence premises" of:
            a maximum of $10,000, for loss by
            theft* of firearms and related equip-                       (1) Your tree(s) felled by the peril of
            ment.                                                           Windstorm or Hail; or Weight of
                                                                            Ice, Snow or Sleet; or
        g.   25% of the Coverage C limit, subject to
             a maximum of $10,000, for loss by                          (2) A neighbor's tree(s) felled by a Peril
             theft* of silverware, silver-plated ware,                      Insured Against under Coverage C;
             goldware, gold-plated ware, platinum-                      provided the tree(s):
             ware, platinumplated ware and pewter-                      (3) Damages a covered structure; or
             ware. This includes flatware, hollow-
             ware, tea sets, trays and trophies made                    (4) Does not damage a covered struc-
             of or including silver, gold or pewter.                        ture; but:
   Sc In Form HO 00 05 and Endorsements HO                                  (a) Blocks a driveway on the "resi-
       32 95 and HO 32 35, theft includes mis-                                  dence premises" which pre-
       placing or losing.                                                       vents a "motor vehicle", that is
                                                                                registered for use on public
   4.   Property Not Covered                                                    roads or property, from entering
        Paragraph c.(2)(a) is replaced by the fol-                              or leaving the "residence prem-
        lowing:                                                                 ises"; or




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                  (b) Blocks a ramp or other fixture                     (1) Debris of covered property if a Peril
                      designed to assist a handi-                            Insured Against that applies to the
                      capped person to enter or leave                        damaged property causes the loss;
                      the dwelling building.                                 or
The $500 limit is the most we will pay in any one                        (2) Ash, dust or particles from a vol-
loss regardless of the number of fallen trees.                               canic eruption that has caused
This coverage is additional insurance.                                       direct loss to a building or property
                                                                             contained in a building.
In Form HO 00 06:
                                                                         This expense is included in the limit of
    1. Debris Removal is replaced by the fol-                            liability that applies to the damaged
       lowing:                                                           property. If the amount to be paid for
    1. Debris Removal                                                    the actual damage to the property plus
       a.                                                                the debris removal expense is more
              We will pay your reasonable expense
              for the removal of:                                        than the limit of liability for the dam-
                                                                         aged property, an additional 5% of that
              (1) Debris of covered property if a Peril                  limit of liability is available for debris
                  Insured Against that applies to the                    removal expense.
                  damaged property causes the loss;
                                                                    b.   We will also pay your reasonable ex-
                  or
                                                                         pense, up to $500, for the removal
              (2) Ash, dust or particles from a vol-                     from the "residence premises" of:
                  canic eruption that has caused
                                                                         (1) Your tree(s) felled by the peril of
                  direct loss to a building or property
                                                                             Windstorm or Hail; or
                  contained in a building.
                                                                         (2) A neighbor's tree(s) felled by a Peril
              This expense is included in the limit of
                                                                             Insured Against under Coverage C;
              liability that applies to the damaged
              property. If the amount to be paid for                     provided the tree(s):
              the actual damage to the property plus                     (3) Damages a covered structure; or
              the debris removal expense is more
              than the limit of liability for the dam-                   (4) Does not damage a covered struc-
              aged property, an additional 5% of that                        ture; but:
              limit of liability is available for debris                     (a) Blocks a driveway on the "resi-
              removal expense.                                                   dence premises" which pre-
       b. We will also pay your reasonable ex-                                   vents a "motor vehicle", that is
          pense, up to $500, for the removal                                     registered for use on public
          from the "residence premises" of:                                      roads or property, from entering
                                                                                 or leaving the "residence prem-
              (1) A tree(s) you solely own felled by                             ises"; or
                  the peril of Windstorm or Hail; or
                  Weight of Ice, Snow or Sleet; or                           (b) Blocks a ramp or other fixture
                                                                                 designed to assist a handi-
              (2) A neighbor's tree(s) felled by a Peril                         capped person to enter or leave
                  Insured Against under Coverage C;                              the dwelling building.
              provided the tree(s) damages a covered                     The $500 limit is the most we will pay
              structure. The $500 limit is the most                      in any one loss, regardless of the num-
              we will pay in any one loss, regardless                    ber of fallen trees.
              of the number of fallen trees.
                                                                         This coverage is additional insurance.
              This coverage is additional insurance.
                                                                10. Landlord's Furnishings
In Form HO 00 08:
                                                                    k. Accidental Discharge Or Overflow Of
   1. Debris Removal is replaced by the fol-                            Water Or Steam
      lowing:
                                                                         Paragraph (2)(d) is replaced by the fol-
   1. Debris Removal                                                     lowing in Form HO 00 05:
       a. We will pay your reasonable expense                                (d) Caused by constant or repeated
          for the removal of:                                                    seepage or leakage of water or
                                                                                 the presence or condensation of




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                    humidity, moisture or vapor,                          the presence of "fungi", wet or dry
                    over a period of weeks, months                        rot, or bacteria.
                    or years; or                                  c.   The coverage provided above applies
The following Additional Coverage is added to all                      only when such loss or costs are the
forms except HO 00 04:                                                 result of a Peril Insured Against that
   13. "Fungi", Wet Or Dry Rot, Or Bacteria                            occurs during the policy period and
                                                                       only if all reasonable means were used
       a.   We will pay up to a total of $5,000 for:                   to save and protect the property from
            (1) Direct physical loss to property                       further damage at or after the time of
                covered under Section I - Coverage                     the occurrence of that Peril Insured
                A - Dwelling, Coverage B - Other                       Against.
                Structures and Coverage C - Per-                  d.   If there is covered loss to covered prop-
                sonal Property caused by, resulting                    erty, not caused, in whole or in part, by
                from, or consisting of "fungi", wet                    "fungi", wet or dry rot, or bacteria, loss
                or dry rot, or bacteria if the direct                  payment will not be limited by the
                result of a Peril Insured Against;                     terms of this Additional Coverage,
                and                                                    except to the extent that "fungi", wet
            (2) The necessary increase in costs                        or dry rot, or bacteria causes an in-
                which you incur to maintain your                       crease in the loss. Any such increase in
                normal standard of living when the                     the loss will be subject to the terms of
                "residence premises" is uninhab-                       this Additional Coverage.
                itable due to a loss caused by, re-           This is additional insurance and is the most we
                sulting from, or consisting of                will pay for the total of all loss or costs payable
                "fungi", wet or dry rot, or bacteria          under the Additional Coverage regardless of the
                which is the direct result of a Peril         number of locations insured or the number of
                Insured Against.                              claims made. No deductible applies to this
            The coverage provided above is the                coverage.
            only coverage under Section I - Cov-              (This is Additional Coverage 12. in Form
            erage A - Dwelling, Coverage B -                  HO 00 06 and Additional Coverage 9. in Form
            Other Structures, Coverage C -                    HO 00 08.)
            Personal Property and Coverage D -
            Loss Of Use for loss caused by,               SECTION I - PERILS INSURED AGAINST
            resulting from, or consisting of "fungi",     In Form HO 00 03:
            wet or dry rot, or bacteria caused            A. Coverage A - Dwelling And Coverage B - Oth-
            directly or indirectly regardless of any          er Structures
            other cause or event contributing
            concurrently or in any sequence.                  Paragraph 2.c.(5) is replaced by the following:
       b. The amount in a. above is the most we                        (5) Constant or repeated discharge,
          will pay for the cost:                                           seepage or leakage of water or the
                                                                           presence or condensation of humid-
            (1) To remove "fungi", wet or dry rot,                         ity, moisture or vapor, over a period
                or bacteria from covered property;                         of weeks, months or years; or
            (2) To tear out and replace any part of           Paragraph 2.c.(6)(c) is deleted and replaced by
                the building or other covered prop-           the following:
                erty as needed to gain access to
                the "fungi", wet or dry rot, or                            (c) Smog, rust or other corrosion;
                bacteria; and                             B. Coverage C - Personal Property
            (3) Of any testing of air or property to          12. Accidental Discharge Or Overflow Of Water
                confirm the absence, presence or                  Or Steam
                level of "fungi", wet or dry rot, or
                                                                  Paragraph b.(4) is replaced by the fol-
                bacteria whether performed prior
                                                                  lowing:
                to, during or after removal, repair,
                restoration or replacement. The                        (4) Caused by constant or repeated
                cost of such testing will be pro-                          seepage or leakage of water or the
                vided only to the extent that there                        presence or condensation of humid-
                is a reason to believe that there is                       ity, moisture or vapor, over a period
                                                                           of weeks, months or years.


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In Form HO 00 05:                                                  3.d., is caused by an act of nature, an act
Paragraph A.2.d. is replaced by the following:                     of man or is otherwise caused.
       d.    Constant or repeated seepage or leak-                 This Exclusion (3.) applies to, but is not
             age of water or the presence or                       limited to, escape, overflow or discharge,
             condensation of humidity, moisture or                 for any reason, of water or waterborne
             vapor, over a period of weeks, months                 material from a dam, levee, seawall or any
             or years; or                                          other boundary or containment system
                                                                   whether natural, man-made or is otherwise
Paragraph A.2.e.(3) is replaced by the following:                  made.
             (3) Smog, rust or other corrosion;                    However, direct loss by fire, explosion or
In Forms HO 00 02, HO 00 04 and HO 00 06:                          theft resulting from any of the above, in
                                                                   3.a. through 3.d., is covered.
    12. Accidental Discharge Or Overflow Of Water
        Or Steam                                               (This is Paragraph A.3. in Form HO 00 03.)
        Paragraph b.(5) in Forms HO 00 02 and              In Form HO 00 05:
        HO 00 06 and Paragraph b.(4) in Form               Paragraph A.3. is replaced by the following:
        HO 00 04 are replaced by the following:
                                                               3. Water
          (5) To a building caused by constant or
              repeated seepage or leakage of                       This means:
              water or the presence or conden-                     a. Flood, including but not limited to flash
              sation of humidity, moisture or                          flood, surface water, waves, including
              vapor, over a period of weeks,                           tidal wave and tsunami, seiche, tides,
              months or years.                                         tidal water, overflow of any body of
SECTION I - EXCLUSIONS                                                 water, or spray from any of these, all
                                                                       whether or not driven by wind,
In all forms except HO 00 05:                                          including storm surge;
    3. Water Damage is replaced by the following:                  b.   Water which:
    3. Water                                                            (1) Backs up through sewers or drains;
       This means:                                                          or
       a.    Flood, including but not limited to flash                  (2) Overflows or is otherwise dis-
             flood, surface water, waves, including                         charged from a sump, sump pump
             tidal wave and tsunami, seiche, tides,                         or related equipment;
             tidal water, overflow of any body of                  c.   Water below the surface of the ground,
             water, or spray from any of these, all                     including water which exerts pressure
             whether or not driven by wind, in-                         on, or seeps, leaks or flows through a
             cluding storm surge;                                       building, sidewalk, driveway, patio,
        b.   Water which:                                               foundation, swimming pool or other
                                                                        structure; or
              (1) Backs up through sewers or drains;
                  or                                               d.   Waterborne material carried or other-
                                                                        wise moved by any of the water
              (2) Overflows or is otherwise dis-
                                                                        referred to in 3.a. through 3.c. of this
                  charged from a sump, sump pump
                                                                        exclusion.
                  or related equipment;
                                                                   This Exclusion (A.3.) applies regardless of
        c. Water below the surface of the ground,
                                                                   whether any of the above, in A.3.a.
            including water which exerts pressure
                                                                   through A.3.d., is caused by an act of
            on, or seeps, leaks or flows through a
                                                                   nature, an act of man or is otherwise
            building, sidewalk, driveway, patio,
                                                                   caused.
            foundation, swimming pool or other
            structure; or                                          This Exclusion (A.3.) applies to, but is not
                                                                   limited to, escape, overflow or discharge,
        d. Waterborne material carried or other-
                                                                   for any reason, of water or waterborne
           wise moved by any of the water
                                                                   material from a dam, levee, seawall or any
           referred to in 3.a. through 3.c. of this
                                                                   other boundary or containment system
           exclusion.
                                                                   whether natural, man-made or is otherwise
        This Exclusion (3.) applies regardless of                  made.
        whether any of the above, in 3.a. through



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       However, direct loss by fire, explosion or        C. Loss Settlement
       theft resulting from any of the above, in             In Forms HO 00 02, HO 00 03 and HO 00 05,
       A.3.a. through A.3.d., is covered.                    Subparagraph 2.a. is replaced by the following:
       Damage to property described in Coverage               2. Buildings covered under Coverage A or B at
       C away from a premises or location owned,                 replacement cost without deduction for
       rented, occupied or controlled by an                      depreciation, subject to the following:
       "insured" resulting from any of the above,
       in A.3.a. through A.3.d., is covered.                       a.   If, at the time of loss, the amount of
                                                                        insurance in this policy on the damaged
       Damage to property described in Coverage                         building is 80% or more of the full
       C on a premises or location owned, rented,                       replacement cost of the building imme-
       occupied or controlled by an "insured",                          diately before the loss, we will pay the
       resulting from any of the above, in A.3.a.                       cost to repair or replace, after appli-
       through A.3.d., is excluded even if weather                      cation of any deductible and without
       conditions contribute in any way to pro-                         deduction for depreciation, but not
       duce the loss.                                                   more than the least of the following
8. Intentional Loss is replaced by the following:                       amounts:
   8. Intentional Loss                                                  (1) The limit of liability under this pol-
                                                                            icy that applies to the building;
       Intentional Loss means any loss arising out
       of any act an "insured" commits or con-                          (2) The replacement cost of that part
       spires to commit with the intent to cause a                          of the building damaged with mate-
       loss.                                                                rial of like kind and quality and for
                                                                            like use; or
       This exclusion only applies to an "insured"
       who commits or conspires to commit an                            (3) The necessary amount actually
       act with the intent to cause a loss.                                 spent to repair or replace the dam-
                                                                            aged building on the "residence
   (This is Paragraph A.8. in Forms HO 00 03 and
                                                                            premises" or some other premises
   HO 00 05.)
                                                                            within the State of North Carolina.
The following exclusion is added:
                                                         E. Appraisal is replaced by the following:
    10. "Fungi", Wet Or Dry Rot, Or Bacteria
                                                         E.   Appraisal
       "Fungi", Wet Or Dry Rot, Or Bacteria
                                                              If you and we fail to agree on the value or
       means the presence, growth, proliferation,
                                                              amount of any item or loss, either may demand
       spread or any activity of "fungi", wet or
                                                              an appraisal of such item or loss. In this event,
       dry rot, or bacteria other than as provided
                                                              each party will choose a competent and disin-
       in Additional Coverage 13. "Fungi", Wet Or
                                                              terested appraiser within 20 days after re-
       Dry Rot, Or Bacteria.
                                                              ceiving a written request from the other. The
   (This is Exclusion A.10. in Forms HO 00 03                 two appraisers will choose a competent and
   and HO 00 05.)                                             impartial umpire. If they cannot agree upon an
SECTION I - CONDITIONS                                        umpire within 15 days, you or we may request
                                                              that a choice be made by a judge of a court of
B. Duties After Loss
                                                              record in the state where the "residence prem-
   The following is added to the end of Paragraph             ises" is located. The appraisers will separately
   8..                                                        set the amount of loss. If the appraisers submit
   However, if a state of disaster is proclaimed or           a written report of an agreement to us, the
   declared for the State of North Carolina or for            amount agreed upon will be the amount of
   an area within the state in accordance with                loss. If they fail to agree, they will submit their
   North Carolina law and the covered property                differences to the umpire. A decision agreed to
   that has sustained loss is located within the              by any two will set the amount of loss. Each
   geographic area designated in the disaster                 party will:
   proclamation or declaration, this 60-day period            1.   Pay its own appraiser; and
   shall not commence until the expiration of the                  Bear the other expenses of the appraisal
                                                              2.
   disaster proclamation or declaration, including                 and umpire equally.
   all renewals of the proclamation or 45 days,
   whichever is later.                                        In no event will an appraisal be used for the
                                                              purpose of interpreting any policy provision,
                                                              determining causation or determining whether



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   any item or loss is covered under this policy. If            Paragraph 2. "Business" is replaced by the
   there is an appraisal, we still retain the right to          following:
   deny the claim.                                              2. "Business"
G. Suit Against Us is replaced by the following:                    a.   "Bodily injury" or "property damage"
G. Suit Against Us                                                       arising out of or in connection with a
   No action can be brought against us unless                            "business" engaged in by an "insured".
   there has been full compliance with all of the                        This Exclusion E.2. applies but is not
   terms under Section I of this policy and the                          limited to an act or omission, regardless
   action is started within three years after the                        of its nature or circumstance, involving
   date of loss.                                                         a service or duty rendered, promised,
    Loss Payment is replaced by the following:                           owed, or implied to be provided be-
                                                                         cause of the nature of the "business".
    Loss Payment
                                                                    b.   This Exclusion E.2. does not apply to:
   We will adjust all losses with you. We will pay
   you unless some other person is named in the                          (1) The rental or holding for rental of
   policy or is legally entitled to receive payment.                         an "insured location":
   We will pay within 60 days after the amount is                            (a) On an occasional basis if used
   finally determined.                                                           only as a residence;
   This amount may be determined by:                                         (b) In part, for use only as a resi-
       a.     Reaching an agreement with you;                                    dence, unless a single-family
                                                                                 unit is intended for use by the
       b.     Entry of a final judgment; or                                      occupying family to lodge more
       c.     The filing of an appraisal award with                              than two roomers or boarders;
              us.                                                                or
SECTION II - EXCLUSIONS                                                      (c) In part, as an office, school,
A. "Motor Vehicle Liability"                                                     studio or private garage; and
                                                                         (2) An insured minor involved in
   Paragraph 2.b. is replaced in all forms by the
                                                                             part-time, self-employed "business"
   following:
                                                                             pursuits normally undertaken by
       b.     Used to service an "insured's" resi-                           minors, unless the minor is em-
              dence;                                                         ployed by a "business". A minor
E. Coverage E - Personal Liability And Coverage F                            means a person who has not
    - Medical Payments To Others                                             attained his or her 19th birthday (or
                                                                             age 23 if a full-time student);
   Paragraph 1. Expected Or Intended Injury is
   replaced in all forms by the following:                      The following exclusion is added:
    1. Expected Or Intended Injury                              9. "Fungi", Wet Or Dry Rot, Or Bacteria
       "Bodily injury" or "property damage" which                   "Bodily injury" or "property damage"
       is intended by or which may reasonably be                    arising directly or indirectly, in whole or in
       expected to result from the intentional acts                 part, out of the actual, alleged or threat-
       or omissions or criminal acts or omissions                   ened inhalation of, ingestion of, contact
       of one or more "insured" persons. This                       with, exposure to, existence of or presence
       exclusion applies even if:                                   of any "fungi", wet or dry rot, or bacteria.
       a.     The "insured" persons lack the mental         SECTIONS I AND II - CONDITIONS
              capacity to govern their own conduct;         The following condition is added:
       b.     The "bodily injury" or "property dam-         H. Choice Of Law
              age" is of a different kind, quality or
                                                                This policy is issued in accordance with the
              degree than intended or reasonably
                                                                laws of North Carolina and covers property or
              expected; or
                                                                risks principally located in North Carolina. Any
       c.     The "bodily injury" or "property dam-             and all claims or disputes in any way related to
              age" is sustained by a different person           this policy shall be governed by the laws of
              or entity than intended or reasonably             North Carolina.
              expected.
                                                                All other provisions of this policy apply.
   This exclusion applies regardless of whether or
   not an "insured" person is actually charged
   with, or convicted of, a crime.

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                                                                               HOMEOWNERS
                                                                              HO 32460503

                                     INSERT - NORTH CAROLINA

This policy is a legal contract between you and us. The Property Policy is:
    Designed for your easy reference;
   Simplified, to make it more understandable; and
   Arranged to better display the available coverages.

                                  READ YOUR POLICY CAREFULLY




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                                                 Page 1 of I
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                                                                                            HOMEOWNERS
                                                                                           HO 32960503

       THIS ENDORSEMENT DOES NOT CONSTITUTE A REDUCTION OF COVERAGE.
                          NO SECTION II - LIABILITY COVERAGES FOR
                                 HOME DAY CARE BUSINESS
                       LIMITED SECTION I - PROPERTY COVERAGES FOR
                       HOME DAY CARE BUSINESS - NORTH CAROLINA


A.   If an "insured" regularly provides home day            2. Limits Section I coverage, under Coverage
     care services to a person or persons other than           C - Special Limits Of Liability, for "busi-
     "insureds" for economic gain, that enterprise is          ness" property:
     a "business". Mutual exchange of home day                  a.   On the "residence premises" for the
     care services, however, is not considered                       home day care "business" to $2,500.
     economic gain. The rendering of home day care                   This is because Category h. (e. in Form
     services by an "insured" to a relative of an                    HO 00 08) imposes that limit on
     "insured" is not considered a "business".                       "business" property on the "residence
B. Therefore, with respect to a home day care                        premises";
   enterprise which is considered to be a "busi-                b. Away from the "residence premises"
   ness", this policy:                                             for the home day care "business" to
     1. Does not provide:                                          $500. This is because Category i. (f. in
        a.   Section II coverages. This is because a               Form HO 00 08) imposes that limit on
             "business" of an "insured" is excluded                "business" property away from the
             under E.2. of Section II - Exclusions;                "residence premises". Category i. does
                                                                   not apply to property described in Cate-
        b.   Coverage, under Section I, for other                  gories j. and k. (g. and h. respectively
             structures from which any "business"                  in Form HO 00 08).
             is conducted; and




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                                                  Page 1 of 1
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                                                                                          IL N 001 09 03


                                   FRAUD STATEMENT
Any person who knowingly presents a false or fraudulent claim for payment of a loss or benefit or know-
ingly presents false information in an application for insurance is guilty of a crime and may be subject to
fines and confinement in prison.




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                                                                                            IL P 001 01 04


      U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
                  ASSETS CONTROL ("OFAC")
             ADVISORY NOTICE TO POLICYHOLDERS
No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of
your policy. You should read your policy and review your Declarations page for complete information on the
coverages you are provided.
This Notice provides information concerning possible impact on your insurance coverage due to directives
issued by OFAC. Please read this Notice carefully.
The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presiden-
tial declarations of "national emergency". OFAC has identified and listed numerous:

  •   Foreign agents;
  •   Front organizations;
      Terrorists;
  ^ Terrorist organizations; and
    Narcotics traffickers;

as "Specially Designated Nationals and Blocked Persons". This list can be located on the United States
Treasury's web site - http//www.treas.gov/ofac.
In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or en-
tity claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated Na-
tional and Blocked Person, as identified by OFAC, this insurance will be considered a blocked or frozen con-
tract and all provisions of this insurance are immediately subject to OFAC. When an insurance policy is con-
sidered to be such a blocked or frozen contract, no payments nor premium refunds may be made without
authorization from OFAC. Other limitations on the premiums and payments also apply.




IL P 001 01 04                          © ISO Properties, Inc., 2004                             Page 1 of 1




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                         UPC^'l
                         I N S U RAN C E
    UNITED PROPERTY AND CASUALTY INSURANCE COMPANY

                               PRIVACY NOTICE

Protecting the privacy and confidentiality of information about our customers is
very important to us. While information is the cornerstone of our ability to provide
superior insurance products, our most important asset is our customers' trust.
Accordingly, we limit the collection and use of customer information to the
minimum we require in delivering superior products and services. This privacy
policy includes examples of the types of nonpublic personal information we collect
and the kinds of companies with whom we may share such information. You do
not need to do anything in response to this notice. This notice is merely to inform
you about how we safeguard your information.

Information We Collect
We know that you expect us to conduct and process your business in a manner
that is both accurate and efficient. To do so, we gather information about you that
is pertinent to the underwriting process, such as:
- your name, address, telephone number, social security number, age, and
    employer;
- prior insurance coverage, claims history, premiums, and payment history;
    information from consumer reporting agencies, public records, and data
    collection agencies.

Information We May Disclose
We do not disclose any nonpublic personal information about our customers or
former customers to anyone, except for information that we may be required by
law to disclose. We also may disclose information in order to provide customer
service or administer your account. For example, we may use another party to
perform services for us, such as providing customer assistance, handling claims,
protecting against fraud, and maintaining or developing software for us. We also
may disclose information in response to requests from law enforcement agencies
or state insurance authorities.

Security
To safeguard your nonpublic personal information, we limit access to our
customers' nonpublic personal information to only those employees who need
access to the information to perform their job functions. Additionally, we insist
that the distributors and other companies that perform services for us limit access
to your personal information to authorized employees and agents, and maintain
appropriate administrative, physical, electronic and procedural safeguards.

UPC 424 NC                           Page 1 of 1                           ed. 03/13




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                      UPC(\
                      INSURANCE

             UNITED PROPERTY & CASUALTY INSURANCE COMPANY




                      HOMEOWNER POLICY

                           PO BOX 51149
                       SARASOTA, FL 34232-0330



                                 TELEPHONE
                               1-800-295-8016



   ***************I M PO RTANT N OTI C E***************
THIS POLICY DOES NOT INCLUDE INSURANCE PROTECTION AGAINST FLOOD LOSSES.


FLOOD COVERAGE IS AVAILABLE THROUGH AGENTS WHO WRITE FLOOD INSURANCE.


IF YOU SHOULD HAVE ANY QUESTIONS REGARDING THIS IMPORTANT PROTECTION,
PLEASE CONTACT YOUR AGENT.


                            NORTH CAROLINA

                                 Page 1 of 2

UPC HO 207 NC                                                       ed. 03/13



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This policy is issued on behalf of United Property & Casualty Insurance Company and by
acceptance of this policy you agree:



   1. That the statements in the Declaration are your representation;

   2. That this policy is issued in reliance upon the truth of those representations; and

   3. That this policy embodies all agreements existing between you and United Property
       & Casualty Insurance Company or any of our Producers relating to this policy.


IN WITNESS WHEREOF, the company has caused this policy to be executed and
attested, but this policy shall not be valid unless countersigned by a duly authorized
representative of the company.




      Chief Executive Officer



                     United Property & Casualty Insurance Company




                                        Page 2 of 2


UPC HO 207 NC                                                                     ed. 03/13



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                                              UPC(IN
                                               I N S U R A N C E



                           CONSENT TO RATE - NORTH CAROLINA

                                      HOMEOWNERS COVERAGE

Policyholder Name(s): PAULA BULLOCK                                                 Agency Name: COACHES CASUALTY INS OF NC INC
Mailing Address:           732 OSMOND RD                                            Agency Address: DBA LACY WEST INSURANCE
                           SEMORA NC 27343                                                          PO BOX 2138
                                                                                                    ELIZABETHTOWN NC 28337




Policy Number:             UNH 0063322 00 32                                        Location of Insured Residence Premises:
Effective Date:            02/04/2014                                               732 OSMOND RD
Policy Period:             02/04/2014                                               SEMORA NC 27343
                                        - 02/04/2015


Coverage Limits                                                                     Policy Type: HO3
Dwelling:                               $425,000.00
Other Structures:                         $42,500.00
Personal Property:                      $212,500.00
Loss of Use:                              $85,000.00
Personal Liability:                     $300,000.00
Medical Payments to Others:                $1,000.00
Other Perils Deductible:                        $2,500
Wind/Hail Deductible:                 1% / $4,250
Named Storm Deductible:


North Carolina Rate Bureau (NCRB) Premium:                 $1,712.00                Percent Of NCRB Premium: 107 %
UPC Proposed Policy Premium:                               $1,826.00

The premium proposed by UPC does not exceed 250% of the North Carolina Rate Bureau premium and, therefore, is
presumed reasonable.


I/we acknowledge that coverage may be available through the North Carolina Joint Underwriting Association (FAIR Plan) or
the North Carolina Insurance Underwriting Association (Beach Plan).


By signature below, I/we consent to the rate offered by UPC. I/we understand that this rate differs from the North Carolina
Rate Bureau manual rates. This signed consent is applicable to future policy renewals, replacements, endorsements,
reinstatements and/or changes.




Insured Signature:                                                                       Date:


Co-Insured Signature:                                                                    Date:


                                             Please sign and return this form to:
                                                       UPC - NC CTR
                                                      P.O. Box 51149
                                                    Sarasota, FL 34232



UPC NC CTR HO 04 13                                                                                        Page 1 of 1




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      PARTIAL DECLARATION OF APPRAISAL
   Stale of North Carolina, Caswell Count:

  Subject: Paulo K. Bullock v. UPC Maumee
            Policy +t:             UNI IG063332
            Claim e.               20151`Ctx+3173
            Date of Loss:          l t 1012;1 15
            Location of l ocs      The d^^ elling at 732 Oaawnd Rd, Scznort. NC 27343


                           PARTIAL APPRAISAL AWARD
     e, the ;uu&•rcigned, pnrsuiut: to Inc witian appointment, certify thin we have dull,
   tvn.. ie rair+ oil and impartially performed the &t ries (f..igned to us on the .cuhject !natter,
   including the rcyisiatt and adtastment of documents, have appraised. determined and du
   hereby render the fellow•in Ssl^ttrtial award:

                                  Rcplaacment Coat                Depreciation              Actual Cash Value
     [iuildis$ Value                $IUFi4Ni.7:                      S ).00                    $136, 26.72
     Amount of Loss to
     D ^^ c!ling                     $130,330.63                   St.531.G1                   $122,399.02
     Additional Living
     Expense                         $21.000.00                    S0.00                        S11 OM OU
     1'er)nnal Propert}             Amount Pending              Amount Vending                Amply,' Pending
     Partial Amount of
     Loss                            $151,330.6.                   S7 911.61                   $143,399.02




   Inaured'a Appraiser: Arai Christenbury




   Empire: Ray McGee



   Note: All Prior Payment(s) and Deductible(s) Should be Subtracted
         from the Abo ■ e Amounts




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                                       EXHIBIT "C"




                DECLARATION OF APPRAISAL
State of North Carolina, Caswell County

Subject Paula K. Bullock v. UPC Insurance
        Policy #:                UNH0063322
        Claim #:                 2015N0003473
        Date of Loss:            111012015
        Location of Loss:       The dwelling at 732 Osmond Rd, Semora, NC 27343


                                APPRAISAL AWARD
We, the undersigned pursuant to the within appointment, certify that we have duly,
conscientiously and impartially performed the duties assigned to as on the subject matter,
including the revision and adjustment of documents, have appraised determined and do
hereby render the following partial award:

                             Replacement Cost             Depreciation             Actual Cash Value
  Building Value               5136,426.72                  $0.00                     S 136,426.72
  Amount-of Loss to
  Dwelling                      S 130,330.63                57,931.61                 S 122,399.02
  Additional Living
  Expense                       521,000.00                    50.00                    $21,000.00
  Personal Property             $51989.79                   }'3,787.93                 $48.402.76
  Partial   Amount of
  Loss                          ,S203,320 A2               511,71 S_64                S191,801.78


                                                                         Date     1 / 4-/Ao1
Carrier's Appraiser: Neil S Watts


                                                                         Date      J J ZG/ ,
Insured's Appraiser: Max Christenbury


                                                                         Date
Umpire: Ray McGee


 Note: All Prior Payment(s) and Deductible(s) Should be Subtracted
        from the Above Amounts




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